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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



IN RE RULE 45 SUBPOENA ISSUED                                  NOTICE OF MOTION
TO ERIE COUNTY DISTRICT                                        TO QUASH SUBPOENA
ATTORNEY'S OFFICE
DATED JUNE 7,2022                                                   -cv-



STATE OF NEW YORK              )
COLINTY OF ERIE                )   SS
CITY OF BUFFALO                )

               PLEASE TAKE NOTICE, that upon the attached Affidavit of JERRY MARTI,
Assistant District Attorney, of counsel to JOHN J. FLYNN, District Attorney of Erie County, as
sworn to on the 30th day of June, 2022, and upon the accompanying Memorandum of Law and
Exhibits, the undersigned will move before the   Hon.                           , United   States Court
Judge, United States District Court forthe WesternDistrictofNewYork,2Niagara          Square,   Buffalo,
New York, on the        day of July, 2022 at 10:00 in the forenoon, or as soon thereafter as counsel
                   -
may be heard, for an Order quashing the subpoena dated June 7, 2022 issued to the Erie County
District Attorney's Office, pursuantto Rule 45 of the Federal Rules of Civil Procedure, and for such
other relief as may be just and proper. Pursuant to the Local Rules of Civil Procedure, Rule 7(a)(1),
the Erie County District Attorney's office intends to f,rle and serve reply papers.


DATED:         Buffalo, New York               Respectfully Submiued,
               June 30,2022
                                               JOHN J. FLYNN
                                               DISTRICT ATTORNEY
                                               Erie County
                                               BY: JERRY MARTI
                                               Assistant District Attorney
                                               ofCounsel
                                               25 Delaware Avenue
                                               Buffalo, New York 14202

TO: David A. Adelman, Esq
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UNITED STATES DISTRICT COURT
WESTERN DISTzuCT OF NEW YORK



IN RE RULE 45 SUBPOENA ISSUED                                 AF'FIDAVIT
TO ERIE COLINTY DISTRICT                                      IN SUPPORT
ATTORNEY'S OFFICE                                             OF MOTION
DATED JTINE 7,2022
                                                                   -cv-


STATE OF NEW YORK )
COUNTY OF ERIE    )              ss.
crTY oF BUFFALO )

               JERRY MARTI, being duly sworn, deposes and says:

               1. I am an attorney duly admitted to practice law before this Court.

               2. I am an Assistant District   Attorney, appearing of counsel to JOHN J. FLYNN,

District Attorney of Erie County, on behalf of the People of the State of New York ("People").

               3. This affidavit is submitted in support of the People's motion   seeking an Order to

quash the "Subpoena to Produce Documents, Information, or Objects or to Permit Inspection          of
Premises in a Civil Action" dated June 7, 2022 directed to the Erie County District Attorney's Office

("Subpoena"). A copy of the Subpoena is attached hereto as Exhibit "A".

                                  CRIMINAL PROCEEDINGS
               4. Payton Gendron ("Defendant") was arrested    and indicted   following the shootings

committed at a Tops Friendly Markets Store in Buffalo, New York on May 14, 2022 ("Tops

Shootings"). A copy of the indictment is attached hereto as Exhibit "B".

               5.   On May 27, 2022, the Hon. Craig Hannah ordered that there will be no

extrajudicial comments, including any discussion       of the facts or    evidence, associated with

Defendant's case. A copy of the Order Regarding Extrajudicial Comments is attached as Exhibit
ttctt.




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                 6. On June l5,2022,Payton Gendron was charged in the United States District Court

for the Western District ofNew York for allegedly committing the Tops Shootings on May 14,2022.

A copy of the Criminal Complaint is attached hereto         as   Exhibit "D".

                                  SUBPOENA AND          CIVI       ACTION
                 7. The County of Cook ("Cook County") issued the Subpoena from the United States

District Court, Northern District of Illinois in the action of Cutberto Viramontes, et al v. The County

of Cook, et al,No. l:21-cv-04595 (N.D.Ill.202I).

                 8. In the underlying    action, plaintiffs seek a declaratory judgment that the ban on

semiautomatic rifles as set forth in the Blair Holt Assault Weapons Ban ("Ordinance") prevents

plaintiffs from exercising their fundamental right to keep and bear arms as guaranteed under the

Second and Fourteenth Amendments to the United States Constitution. In addition, plaintiffs seek

a   preliminary and permanent injunction prohibiting the defendants from enforcing the Ordinance.

A copy of the Complaint dated and filed August 27,202I is attached hereto as Exhibit "E".

                9.   The Erie County District Attorney's Offrce is not a party to this declaratory

judgment action.

                 10. The Subpoena herein was served by Cook County via certified mail on June           10,

2022. The return date is June 30, 2022 at 10:00 a.m. (See Exh.          A.)     Pursuant to an agreement on

June22,2022between the People and Cook County, there is an extension of time to respond to the

Subpoena on or before July I 1,2022.

                1   1.   On June 24, 2022, the People served its written objections to the Subpoena

pursuant to Rule 45 of the Federal Rules of     Civil Procedure on Cook County by certified mail. A

copy of the written objections is attached hereto as Exhibit "F".

                12. According to the Rider attached to the Subpoena, Cook County requests "all non-

privileged records in the possession of the Erie County District Attorney's Office related to the



                                                   - az--
         Case 1:22-mc-00014-JLS Document 1 Filed 06/30/22 Page 4 of 79



shooting at Tops Friendly Markets Store, 1725 Jefferson Ave, Buffalo NY 14208 on May 14,2022"

("Tops Shootings") be produced at the Cook County State's Attorney's Office, 50 W. Washington,

5th Floor, Chicago,   IL   60602. No personal appearance is required by the Subpoena.

                13. After the People conferred with Cook County, there has been no withdrawal of

the Subpoena. As a result, this motion became necessary to protect Defendant's right to a fair trial

in the state and federal criminal proceedings and challenge the undue burden placed on the People.

                14. For the reasons set forth more fully in the accompanying Memorandum of Law,

the Subpoena must be quashed by this Court pursuant to Rule 45 of the Federal Rules         of   Civil
Procedure.

               WHEREFORE, it is respectfully requested that this Court issue an Order quashing

the Subpoena dated June 7, 2022 in its entirety, and for such other relief as may be just and proper.




                                                JERR  MARTI
                                                        District Attorney
                                               Erie        District
                                               Attorney's Office
                                               25 Delaware Avenue
                                               Buffalo, New York 14202
                                                (716) 8s8-2447
                                               jerry.marti@erie.gov

Subscribed and sworn to before me
this 30th day of June,2022.




     Public, State of New York
       in Erie County
   Commission Expires 08127 12025.




                                                  a
                                                  J
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UNITED STATES DISTzuCT COURT
WESTERN DISTzuCT OF NEW YORK


IN RE RULE 45 SUBPOENA ISSUED                               AF'F'IDAVIT
TO ERIE COUNTY DISTRICT                                     OF SERVICE
ATTORNEY'S OFFICE
DATED JLTNE 7 ,2022                                              -cv-



STATE OF NEW YORK             )
COUNTY OF EzuE                )   SS:
CITY OF BUFFALO               )
               KzuSTY A. DULAK, being duly sworn, deposes and says:
               That she is over the age of twenty-one (21) years and is employed by the County of
Erie at the Erie County District Attorney's Office; that on June 30, 2022, she served the within
Notice of Motion to Quash Subpoena with Affrdavit in Support of Motion, Memorandum of Law,
and Exhibits upon David A. Adelman, attorney for the County    of   Cook, addressed to ASA David
A. Adelman, Cook County State's Attorney's Office at his office located at 50 W. Washington, 5th
Floor, Chicago, IL 60602, by depositing a true copy of same, securely enclosed in a postpaid
wrapper, in a post office box regularly maintained by the United States Postal Service at the Erie
County Hall in the City of Buffalo, New York in the                     matter.



                                             KRIS


Subscribed and sworn to before
me on June 30, 2022.


     A///'(
ELAINE    J            S
                        U//";
Notary Public, State of New York
Qualified in Erie County
My Commission Expires 0910412025.
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 LINITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK



IN RE RULE 45 SUBPOENA ISSUED                                      -CV-
TO ERIE COLINTY DISTRICT
ATTORNEY'S OFFICE
DATED JUNE 7,2022




                                  MEMORANDUM OF'LAW


                      Non-Party Erie County District Attorney's Office's
                        Motion to Quash County of Cookrs Subpoena




                                                  JOHN J. FLYNN
                                                  Erie County District Attorney




 JERRY MARTI
 Assistant District Attorney,
 of Counsel to Non-Party
 Erie County District Attorney's Office
 25 Delaware Avenue
Buffalo, New York 14202
 (7t6) 8s8-2447
jerry.marti@erie.gov
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                  Non-party, Erie County District Attorney's Office (the "People") respectfully submits

this memorandum of law in support of its motion to quash the subpoena served on June 10,2022by

the County of Cook pursuant to Federal Rule of Civil Procedure 45(dX3). As required by the

Federal Rules, the People timely bring this motion before the Court where compliance is required.




                                   PRELIMINARY STATEMENT
                  This is a motion to quash the non-party subpoena issued by the County of Cook

("Cook County") dated June 7, 2022 seeking the production of all non-privileged documents from

the People "related to the shooting at Tops Friendly Markets Store, 1275 Jefferson Ave., Buffalo,

NY     14208 on   May 14,2022" ("Subpoena"). This Court is the proper venue to hear the motion to

quash because the Subpoena requests documents from the People's place of business in Buffalo, New

York. Accordingly, the place of compliance is in Buffalo, New York.

                  Currently, there are two criminal actions pending against Payton Gendron

("Defendant"), one in state court and the other in the United States District Court for the Western

District of New York, for the shootings committed at the Tops Friendly Market Store in Buffalo,

New York on May 14,2022 ("Tops Shootings"). Pursuant to an agreement between the Erie County

District Attorney and defense counsel on the state action, Buffalo City Court issued an Order limiting

initial comments on the charges and prohibiting any further extrajudicial comments to the public

("Order"). The basis for this agreement and the Order was to preserve the fairness and integrity of

the criminal proceeding. By requesting all non-privileged documents, disclosure pursuant to the

Subpoena creates the substantial likelihood of depriving the defendant of his right to a fair trial and

creates an undue burden on the People.

                  In addition, the Subpoena is overly broad and unduly burdensome on the People. As

a   non-party, the People are entitled to greater protection from a Subpoena in which neither the need



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nor relevance outweigh the undue burden in responding to its requests. Likewise, the People's

documents relating to the Tops Shootings are protected under the law enforcement privilege.

                In any event, the Subpoena is procedurally defective by seeking the production of

documents in Chicago, Illinois - more than 100 miles from the People's place of business in Erie

County. Accordingly, the People respectfully request that the Court quash the Subpoena.



                                   FACTUAL BACKGROUND



A. State Criminal      Proceedings in Buffalo, New York

                On June I,2022, Payton Gendron was indicted for the Tops Shootings committed on

May 14, 2022. Under Indictment No. 00877-2022, defendant was charged with one count of

Domestic Act of Tenorism Motivated by Hate in the First Degree (Penal Law $ 490.28),10 counts

of Murder in the First Degree (Penal Law $ 125.27(1)(a)(viii)), 10 counts of Murder in the Second

Degree, as a Hate Crime (Penal Law $$ 125.25(l);485.05(1xb)), three counts ofAttempted Murder

in the Second Degree, as a Hate Crime (Penal Law $$ 110.00, 125.25(1),485.05(1Xb)), and one

count of Criminal Possession of a Weapon in the Second Degree, an Armed Felony (Penal Law            $

265.03(3)).   See   Exh. B.

                Following the indictment, the People and defense counsel agreed to limit extrajudicial

comments in order to protect the integrity and fairness of the proceedings. Accordingly, by Order

dated May 27, 2022, the People were allowed to comment on the charges contained in the

indictment, the elements of the charges, and explain the relevant criminal procedure following

defendant's arraignment on the indictment. Any fuither public remarks regarding the subject matter

of the defendant's case were prohibited "until the charges are resolved in Erie County or Supreme

Court, whether by conviction, acquittal, or some other manner," or an application is made to amend




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the Order. See Exh.         C. The criminal proceedings      are currently pending in Erie County.



B. Federal Criminal Proceedings in the United States District Court for the
   Western District of New York

                 Subsequently, Payton Gendron was charged in federal court for allegedly committing

the Tops Shootings on May 14,2022. Pursuant to the Criminal Complaint (Case No. 22-mj-124)

dated June 15,2022 and Affidavit in Support of Criminal Complaint dated June 15, 2022, the

defendant was charged with 10 counts of Hate Crime Resulting in Death (1S U.S.C. g 2a9(a)(l)),

three counts of Hate Crime Involving Bodily Injury and Attempt to            Kill (18 U.S.C. g 2a9(a)(1)),   10

counts for the Use of a Firearm to Commit Murder During and in Relation to a Crime of Violence

(18 U.S.C. $$ 92a(c)(1xA)(iii) and 92aj)(l)), and three counts for the Use and Discharge of a

Firearm During and in Relation to a Crime of Violence (18 U.S.C. g 92a(c)(1)(A)(iiD). See Exh. D.

The criminal proceedings are currently pending in federal court.



C. Federal Lawsuit in Illinois Against County of Cook
                 On August 27,202I, in the matter of Cutberto Viramontes, et al v. the County                of
Cook, et al Q\o. l:21-cv-04595), plaintiffs Cutberto Viramontes, Rubi Joyal, Christopher Khaya,

Second Amendment Foundation ("SAF"), and Firearms Policy Coalition ("FPC") (collectively

"Plaintiffs") filed   a   declaratory judgment action in the United States District Court, Northern District

of Illinois ("Declaratory Judgment Action"). According to the Complaint, Plaintiffs allege that the

Blair Holt Assault Weapons Ban ("Ordinance") violates the Second Amendment to the United States

Constitution. Specifically, the Ordinance bans the manufacture, sale, or possession of assault

weapons    in Cook County with limited exceptions. An                  assault weapon    is defined as "any
semiautomatic    rifle with a capacity to accept a            magazine holding more than ten rounds          of
ammunition"    if it has one of five distinguishing         features, including specific models listed in the



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Ordinance. As a result of the Ordinance, Plaintiffs are prohibited from using their choice of assault

weapons. See Complaint, flfl 18-26,40-45, attached as Exh. E.

                  As   a   result, Plaintiffs seek   a   declaratory judgment stating that the Ordinance prevents

Plaintiffs from exercising their right to keep and bear arms under the Second and Fourteenth

Amendments to the United States Constitution. Likewise, Plaintiffs seek a preliminary and

permanent injunction prohibiting the enforcement ofthe Ordinance by the listed defendants: County

of Cook; Toni Preckwinkle, the County Board President and Chief Executive Officer of Cook

County; Kimberley M. Foxx, the State's Attorney; and Sheriff Thomas Dart. See Complaint l|fl 14-

17,71, attached as Exh. E. The Erie County District Attorney's Office is not listed as a party to the

Declaratory Judgement Action.



D. County of Cook's Subpoena
                  The Subpoena dated June 7, 2022 directed to the People relates to the Declaratory

Judgment    Action. In      sum, the Subpoena requests that all of the non-privileged records in People's

file related to the Tops Shootings be produced at the Cook County State's Attorney's Office, without

the requirement for personal appearance. Specifically, the Subpoena seeks: all "incident reports"

from May 14,2022 relating to the injuries and fatalities"inflicted by Payton Gendron," as well as his

apprehension and arrest; all "firearm reports" regarding the weapons and ammunition used, including

the damage inflicted by such weapons and ammunition, at the Tops shootings; and all medical

examiner reports "related to victims ofthat shooting" including but not limited to the named victims.

See Exh.   A.   The Erie County District Attorney's Off,rce is a non-party located in a different state,

over 100 miles from Cook County.




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                                           ARGUMENT



I. This Court is the Appropriate     Venue to Consider The People's Motion to Quash

                As a threshold matter, this Court is the appropriate venue to adjudicate the People's

motion to quash for two reasons. First, this Court has the power to quash the subpoena because the

place of compliance is in Buffalo, New   York. Second, the policy considerations behind the Federal

Rules of Evidence support this Court's adjudication of the motion to quash.

                Pursuant to Federal Rules of Civil Procedure 45, a motion to quash a non-party

subpoena must be filed   in "the court for the district where compliance is required." Fed. R. Civ.    P.

45(d)(3)(A). The place of compliance for anon-party subpoena seeking "documents, electronically

stored information, or tangible things" is a place      "within 100 miles of where the person resides, is
employed, or regularly transacts business in person." Fed. R. Civ. P. a5(c)(2)(A). It is undisputed

that the Erie County District Attorney's Office regularly transacts business in Buffalo, New York and

in the surrounding areas within Erie County, New York. Accordingly, the District Court for the

Western District of New York is the proper venue for the People's motion to quash. See American

Plan Administrators v. South Broward Hospital District, No. 21-MC-2663 (KAM) (TAM), 2021

WL 6064845, at *2 (E.D.N.Y. Dec. 22,2021); Burnett v. Wahlburgers Franchising LLC,16 CV

4602 (WFK) (CLP), 201 8    WL    10466827 , at   * 2 (E.D.N.Y. Oct. 4,20 1 8).

               Similarly, the District Court for the Central District of Illinois has reached the same

conclusion. The case in Raap v. Brier & Thorn, Inc., No. 17-MC-3001,2017 WL 2462823 (C.D.

Ill. July 7,2017) is particularly instructive here. ln Raap, the plaintiff located in Wisconsin served

a subpoena to produce documents on the non-party, Bank           of Springfield, located in Illinois. The

subpoena instructed the Bank of Springfield to produce the documents in Madison, Wisconsin. In

response, the Bank    of Springfield filed a motion to        quash in the Central District of Illinois,




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Springfield Division. In quashing the subpoena, the Court held that it had jurisdiction because the

place of compliance is tied "to the location of the subpoenaed person or entity." Id. at*3.

                 Additionally, policy considerations support this Court's adjudication of the motion

to quash. According to the Advisory Committee Notes for the 2013 amendments, Rule 45 was

amended,     in part, to protect   non-parties who receive subpoenas.              In particular, the policy
considerations behind Rule 45 would be "defeated if          a   party could demand compliance in a location

more than 100 miles from where the nonparty resides, is employed, or regularly transacts business

in person and still require the nonparty to adjudicate   a   dispute over that subpoena in   a   distant forum. "

Id.   Moreover, this policy consideration has been recognized in the District Court for the Northern

District of Illinois - the same issuing court for the Subpoena in this case. See Dou v. Carillon

Tower/Chicago LP, No. 18 CV-7865, 2020 wL 5502345, at *2 (N.D. Ill. Sept. 11,2020).

                 Lastly, the Courts generally refer to a corporation's headquarters when determining

the place of compliance for a subpoena. See, e.g., Europlay Capital Advisors, LLC v. Does,323

F.R.D. 628,629 (C.D. Cal.2018); see also Procaps S.A. v. Patheonlnc.,No. |2-24356-CIV,2015

WL 1722481 (S.D. Fla. April 15, 2015). In this           case, the People's main offices are located          in
Buffalo, New York and it regularly conducts its business there. This Court is, therefore, the proper

court to adjudicate the motion to quash. To hold otherwise would only serve to undermine the policy

considerations behind the2013 amendments of Rule 45.



II.   The Subpoena Prejudices Defendant's Right to a Fair Trial in Criminal Proceedings

                Pursuant to the Buffalo City Court Order and to protect Defendant's right to afair          trial
in the state and federal criminal proceedings, this Court should quash the Subpoena seeking all non-

privileged documents from the People's      file. In order to ensure fairness to Defendant             after the

publicized Tops Shootings, the Erie County District Attorney and defense counsel agreed to limit

public remarks regarding the pending criminal proceedings in Erie County. On May 27, 2022,

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Buffalo City Court ordered limitations on extrajudicial comments to protect the fairness and integrity

ofthe criminalproceedings. After defendant's arraignment, the People were allowedthe opportunity

to comment on the indictment and charges. Any further remarks were prohibited until the case was

resolved in court, or an application was made to amend the order. See Exh. C.

                 "Due process requires that the accused receive atrial by an impartial jury free from

outside influences." See Bowers v. Il'alsh,277 F.Supp.2d208,214                 (w.D.N.y. 2003), quoting
Sheppardv. Maxwell, 384 U.S. 333,362 (1966). Even in l966,the Supreme Court of the United

States was   mindful of the "pervasiveness of modern communications and the difficulty of effacing

prejudicial publicity from the minds of the jurors." Sheppard, 384 U.S. at 362. This due process

concern has only been compounded over the years with the proliferation of social media outlets.

Specifically, when out-of-court materials impact the jury's deliberations, the defendant is deprived

of his Sixth Amendment right to a trial by jury.      See      Bowers,277 F.Stpp.2d at218; see also

Nebraska Press Ass'nv. Stuart,427 U.5.539,551 (1976) (Due Process Clause of Fourteenth

Amendment guarantees same right in state criminal prosecutions).

                Here, the Subpoena's request for documents constitutes a discussion "of the facts or

evidence associated with [defendant's] case" before trial. See Exh C. According to the Subpoena,

the People are obligated to provide all non-privileged documents in the file, including incident

reports, firearm reports, and medical examiner reports prior to the completion of discovery or a

judicial determination of the admissibility of evidence   at   trial.   This places an undue burden on the

People. Fed. R. Civ. P 45(dX3XA). In addition to violating the Buffalo City Court Order, the

People's compliance with the Subpoena would create the substantial likelihood of exposing the

prosecution's records to social media interests, tainting the jury in the state and federal criminal

proceedings, and depriving defendant of a fair trial under the Sixth and Fourteenth Amendments.

Id. Accordingly, this Court should quash the Subpoena to protect          defendant's right to a fair trial in

two separate criminal proceedings.

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III.   The Subpoena is Overbroad and Unduly Burdensome on Non-Party

                  Cook County's subpoena is substantially overbroad and unduly burdensome since it

seeks the entire   file of non-privileged records in the possession of the People - without significant

parameters - during the pendency      oftwo criminal proceedings. Given       the vastness of the Subpoena,

Cook County seeks irrelevant information to the underlying declaratoryjudgment action and places

an undue burden on the People. And, therefore, this Court should quash the subpoena.

                  As   a non-party, the People are entitled   to greater protection than a party litigant. It

is well settled that the courts accord special weight to the burden placed on a non-party in responding

to a subpoena. See Travelers Indem. Co. v. Metropolitan Lfe Ins. Co.,228 F.R.D. 111, 113 (D.

Conn. 2005); Nova Biomedical Corp. v. I-STAT         Corp.,I82 F.R.D. 419,423 (S.D.N.Y. 1998) (non-

party status entitles "consideration regarding expense and inconvenience"). Whether a subpoena

imposes an "undue burden requires the court to weigh the burden to the subpoenaed party against

the value   ofthe information to the serving party" and depends on "such factors      as relevance, the need

of the party for the documents, the breadth of the document request, the time period covered by it,

the particularity with which the documents are described and the burden imposed." Travelers,229

F.R.D. atll3,quoting US. v. International Business Machines Corp.,83 F.R.D. 97,I04 (S.D.N.Y.

1979); see also Breaking Media, Inc. v. Jowers,21 Misc. 194 (KPF), 202I                WL 1299108, at*5
(S.D.N.Y. April 7, 2021).

                 "The reach of a subpoena issued pursuant to Fed. R. Civ. P. 45 is subject to the

general relevancy standard applicable to discovery under Fed. R. Civ. P. 26(b)(1)." Chinn v.

Elmwood Franklin School,l5-CV-938G (Sr), 2018 WL 2431886,at * I (W.D.N.Y. May 30, 2018),

quoting Syposs v. U.5.,181 F.R.D. 224,226 (W.D.N.Y. 1998). Pursuant to Fed. R. Civ. P. 26(bX1),

"[p]arties may obtain discovery regarding any non-privileged matter that is relevant to any party's

claim or defense and proportional to the needs of the case, considering the importance of the issues

at stake in the action, the amount in controversy, the parties'relative access to relevant information,


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         Case 1:22-mc-00014-JLS Document 1 Filed 06/30/22 Page 18 of 79



the parties' resources, the importance of the discovery in resolving the issues, and whether the burden

or expense of the proposed discovery outweighs its likely benefit." In particular, the Advisory

Committee Notes to the 2015 Amendment explain that the rule was amended to "encourage judges

to be more aggressive in identiffing and discouraging discovery overuse." Chinn v. Elmwood

Franklin School,15-CV-938G (Sr), 2018 WL 2431886, at*2.

               Here, there is no showing by Cook County regarding the relevance or need for an

expansive subpoena request seeking all of the non-privileged documents           in the   People's file,

"including but not limited to" incident reports from M ay 14,2022,firearm reports relating to the May

14,2022 Tops Shootings, and all medical examiner reports for named or unnamed victims. See Exh.

A. While   the declaratory judgment action deals with an Ordinance banning assault weapons, Cook

County can readily obtain information about the alleged assault weapon used during the TOPS

Shooting and related information by referencing the Federal Criminal Complaint and social media

outlets, all of which are available to the public. See Exh. D.

               Likewise, other than the incident and firearms reports, Cook County does not set any

time parameters on its request. Since the Subpoena only lists three particular items, the remainder

of the request amounts to mere speculation that information might be relevant to the claims at issue

in the declaratory judgment action. As such, the Subpoena amounts to no more than a fishing

expedition, which is patently improper for discovery. See Neogenix Oncology, Inc. v. Gordon,CY

14-4427 (JFB) (AKT), 2017 WL 1207558, at *10 (E.D.N.Y. March 31,2017).

               Additionally, the People are faced with the burdensome task of responding to           a

Subpoena while protecting the defendant's right to a fair trial and upholding the ban to evidentiary

disclosure placed by the Buffalo City Court Order. See Exh.         C.   As the Erie County District

Attorney's Office is in the business of prosecuting criminal cases, it's resources and expenses have

been taxed in resorting to judicial relief in contesting an overbroad subpoena. In light of these




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circumstances, the burden and expense of responding to the subpoena greatly outweigh any benefit.

And, therefore, this Court should quash the subpoena.



IV.   The Subpoena Seeks Records Protected by the Law Enforcement Privilege

                The Subpoena seeks the People's entire non-privileged file directly related to a

criminal investigation and pending criminal proceedings in state and federal court. As such, these

records are protected under a qualified law enforcement privilege. See Aguilar v. Immigration and

Customs Enforcement Div. of the U.S. Dept. of Homeland Sec., 259 F.R.D . 5I,56 (S,D.N.Y. 2009).

Specifically, the law enforcementprivilege protects information that would affect law enforcement

techniques and procedures, undermine confidential sources, threaten the safety or privacy of witness

or law enforcement personnel involved in an investigation, or otherwise interfere with                an

investigation. See In re Terrorist Attacl<s on September I l, 2001,03-MDL-10570 (GBD) (SN),

2020WL 6161732, at *8 (S.D.N.Y. Oct. 21,2020).

                While Cook County does not seek privileged materials, the People assert that the

entire file is subject to the law enforcement privilege. In order to meet the threshold in asserting the

privilege, there must be a "clear and specific evidentiary showing of the nature and extent of the

harm that is likely to be encountered   if disclosure is permitted." Aguilar,259 F.R.D. at5T,quoting

Schiller v. City of New York,252 F.R.D. 204,207 (S.D.N.Y. 2008). While the courts have accepted

an affidavit or declaration at the time a party files its response to discovery, the People are barred by

court order from discussing the facts or evidence relating to the Tops Shootings until the conclusion

of the criminal proceedings. See Exh. C. This Order was put in place to ensure that the defendant

receives a fair trial and to protect the integrity of the criminal proceedings. As such, any disclosure

of the People's file will negatively impact these considerations. Accordingly, the People          have

established the requisite threshold showing for the privilege.    Aguilar,252 F.R.D. at 56-57.



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               Once the threshold has been met, the Court must balance the various interests of the

party and non-party. Here, Cook County has failed to establish the relevance, importance, or need

in requesting all of the non-privileged documents in the People's file. Likewise, Cook County has

failed to show that any materials could not be found through alternative sources. In contrast, the

People could be found in contempt of an Order, deprive the defendant of his right to a fair trial, and

impede any investigation during the criminal proceedings. Indeed, any release of information prior

to a suppression hearing or determination of the admissibility of evidence at trial would directly

impact the defendant's case. Based on these factors, the need for non-disclosure greatly outweighs

the need for disclosure. Id. at 57. For these reasons, the Court must quash the Subpoena.




V. The Subpoena Defies Rule 45's 100 Mile Limit
               In any event, Cook County improperly noticed the place of compliance in Chicago,

Illinois - over 100 miles - from the Erie County District Attorney's Office. As such, this Court

should quash the Subpoena. Pursuant to Rule a5@)(2)(a) of the Federal Rules of Civil Procedure,

a subpoena may command the "production of documents, electronically stored information, or

tangible things at aplace within 100 miles of where the person resides, is employed, or regularly

transacts business in person."

               Here, the Erie County District Attomey's Office regularly transacts business and

maintains its main offices in Buffalo, New York. The Subpoena improperly requested the unlimited

production of non-privileged documents at the Cook County State's Attorney's Office in Chicago,

Illinois - well over 100 miles from Buffalo, New York. Accordingly, this Court should quash the

Subpoena by protecting the interests    of   a non-party governmental agency. See Dou v. Carillon

Tower/Chicago LP, No. 18 CV-7865,2020wL5502345,at*2 (N.D. Ill. Sept. 11,2020).

               Admittedly, some courts have refused to follow the plain language of Rule 45 of the

Federal Rules of   Civil Procedure. Instead,   these courts have held that the place of compliance is the


                                                    11
         Case 1:22-mc-00014-JLS Document 1 Filed 06/30/22 Page 21 of 79



one listed on the subpoena. See, e.g., CSS, Inc. v. Herrington,354 F.Supp.3d 702,709 Qrl.D. Tex.

2017). But, as illustrated in the Herrington        case, the Court's rationale does    not support this

conclusion. In Herrington, the Court acknowledged that the purpose of protecting a non-party is

defeated by requiring compliance over 100 miles from the nonparty's place           of business and also
requiring the non-party to travel to a distant forum to resolve a dispute over the subpoena. Id. at7l0.

                Nonetheless, the Court reasoned that "motions to quash often are filed in the court

corresponding to the improper place of compliance stated in the subpoena." Id.         at7l0.   First, this

assumes that the company involved in     litigation has the resources to have local counsel at the ready

in the distant forum. Additionally, whether that is true in every jurisdiction is not known, and only

serves to underscore the undue burden placed on a non-party state governmental agency in arguing

the dispute in another state. For instance, in this case, the People are required to apply for admission

pro hac vice, find local counsel, and are not permitted to file motion papers unless approved by the

court in the United States District Court for the Northern District of Illinois, all while filing   a   timely

motion to quash. See N.D. Ill. LR 5.6, 83.15.

                The Court further reasoned that the court "will have no way of dependably making

the fact-intensive determination whether the subpoena's stated place of compliance is within 100

miles of where the subpoenaed person" regularly transacts business without hearing from the

subpoenaed   person.   Id. While this may apply to certain individuals, or even companies, this
reasoning finds no merit with the Erie County District Attorney's Office - a state government agency

that lists its location in its name. Accordingly, this Court should not carve out an exception to a

plain reading of Fed. R. Civ. P. 45, but enforce it according to its terms. See, generally, Lamie           v.


U.S. Trustee,540 U.S. 526, 534 (2004).




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           Case 1:22-mc-00014-JLS Document 1 Filed 06/30/22 Page 22 of 79



                                                   CONCLUSION

                    For all of the foregoing reasons, the Erie County District Attorney's office requests

that this Court enter an Order quashing the Subpoena in its entirety, and for such other and further

relief   as the   Court deems appropriate.



DATED:              Buffalo, New York
                    June 30,2022

                                                     Respectfully submitted,

                                                     JOHN J. FLYNN
                                                     DISTRICT ATTORNEY


                                             By:
                                                            MARTI
                                                              District Attorney
                                                     Erie       District
                                                     Attorney's Office
                                                     25 Delaware Avenue
                                                     Buffalo, New York 14202
                                                      (7t6) 8s8-2447
                                                     jerry.marti@erie.gov




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                           EXHIBIT A
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     AO 88B (Rev. 02114) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection ofPremises in   a   Civil Action


                                            UNITBo Srerps DTsrruCT CoURT
                                                                              for the
                                                               Northem District of Illinois.--.
                  CUTBERTO VIRAMONTES, et al
                                                                                  )
                             ,     Plaintiff
                                                                                  )
                                                                                  )       Civil Action No. 1:21-cv-04595                                      *)-:1:J,:,
                   THE COUNTYbT COOK,                                                                                                        ru'B\!ta
                                                      "t "t                       )                                                                                    r:.lii i   ii-i
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                                                                                                                                                                !'-''"
                                  Defendant                                       )                                                            1- ri.-,.:11.


                            SUBPOENA TO PRODUCE DOCIIMENTS,INFORMATION, OR OBJECTS
                              OR TO PERMIT INSPECTION OF PRJMISES IN A CTVIL ACTION

      To         Erie County District Attorney's Office, ATTN: District Attorney John J. Flynn Paul \A/illiams, Chief of Appeals
                        via email to paul.williams@erie.gov and 25 Delaware Avenue, 6th Floor, Buffalo, NY 14202
                                                           (Name of person to whom this subpoena is directed)

           d Production: YOIJARE COMMA|IDED to produce at the time, date, and place set forth below the following
     documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
     material: See attached Rider. No personalappearance required.



       Place: 9661 County State's Attorney's Office.                                        Date and Time:
              50 W. Washington, Sth Floor
                                                                                                                061301202210:00 am
              Chicago, lL 60602

           J Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
     other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
     may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

       Place:                                                                              Date and Time




             The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
     Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
     respond to this subpoena and the potential consequences ofnot doing so.

     Date:        0610712022

                                       CLEKKOFCOURT
                                                                                               OR
                                                                                                                            /s/ David A. Adelman
                                               Signature of Clerk or Deputy Clerk                                             Attorney's signature


     The name, address, e-mail address, and telephone number of the attomey regesenting                                 (name    of party)
    The County of     Cook                                                                          , who issues or requests this subpoen4 are:
     ASA David A. Adelman, CCSAO, 50 W. Washington, 5th Floor, Chicago, lL 60602 david.adelman@cookcountyil.gov

     312'603'3151                      Notice to the person who issues or requests this subpoena
       If this subpoena commands the production of documents, electronically stored information, or tangible things or the
-    - inspec'tion of prernises before trialra notiee and+copyof the subpoen& must be+erved oeeachparty in{his-easebefore
    - -itis served on the person to whom itjs directed.,Fed.R,-Giv- P-45(a\4).
                                                                                                                                                                          - ,
                   Case 1:22-mc-00014-JLS Document 1 Filed 06/30/22 Page 25 of 79


AO 88B (Rev. 02/14) Subpoena to Produce Documents, Informatiorq or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

civil Action No.       1   :21-cv-04595


                                                               PROOF'OF SERVICE
                      (This section should not befiled with the couft unless required by Fed R. civ. p. 4s.)

            I received this subpoen a for       fuame of individual and titte, if any)

on (date)


          /t      s"*ed    the subpoena by delivering a copy to the named person as                    follows:       Erie county District Attorney,s
            Office, Attn. District Attorney |ohn |. Flynn Paul Williams, Chief of A ppeals, 25 Delaware Avenue, 6th Fl. Buffalo,

            NY 14202. Certitied Receiot #7009 28200001                  9j600786           on (date)                                   ;or
            tl   I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of

            $


My fees are $                                     for travel and $                              for services, for atotal       of$           0.00



            I declare under penalty of perjury that this information is true


Date
                                                                                                   Server's signalure




                                                                                                 Printed name and title




                                                                                                    Semer's address

Additional information regarding attempted service, etc.
                   Case 1:22-mc-00014-JLS Document 1 Filed 06/30/22 Page 26 of 79


AO 888 (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in    a   Civil Action(Page 3)

                             F'ederal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective                           lzltlt3)
(c) Place of Compliancc.                                                                (ii) disclosing an unretained expert's opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert's
  (l'1 For a Trial Hearlng, or Deposltion.A subpoena may command a                study that was not requested by a party.
persotr to attend a trial, hearing, or deposition only as follows:                   (C'1 Specifuing Conditions as an AbAmafive. In dre circlmstances
    (A) within 100 miles of where the person resides, is employed, or             described in Rde a5(d)(3)(B), the court may, instead ofquashing or
regularly transacts business in person; or                                        modiSing a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly      conditions ifthe serving party:
tansacts business in person, ifthe person                                               (i) shows a substantial need for the testimony or material that cannot be
       (i) is a party or a party's officer; or                                    otherwise met without undue hardship; and
       (ii) is commanded to attend a fial and would not incur substantial               (ii) ensures that the subpoenaed perion will be reasonably compensated.
expense.
                                                                                  (e) Duties in Responding to a Subpoena.
  (2) For Other Discove4r. A subpoena may command:
   (A) production of documents, elechonically stored information, or                (l) Productng Docuntents or Electronical$ Stored InlormailonThese
tangible things at a place within 100 miles of where the person resides, is       procedures apply to producing documents or electronically stored
employed, or regularly fransacts business in person; and                          information:
   (B) inspection of premises at the premises to be inspected.                       (A\ Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course ofbusiness or
(d) Protecting a Person Subject to a Subpoena; EnforcemenL                        must organize and label them to correspond to the categories in the demand.
                                                                                     (B) Fbrmfor Producing Electronically Stored Information Not Specified.
  (l) Awiding Undue Burden or Eryense; Sutctions. A party or attorney             Ifa subpoena does not specifr a form for producing elechonically stored
responsible for issuing and serving a subpoena must take reasonable steps         information, the person responding must produce it in a form or fonns in
to avoid imposing undue burden or exponse on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C\ Electronically Stored Information Produced in Only One Form. T\e
enforce this duty and impose an appropriate sanction-which may include            person responding need not produce the same electronically stored
lost earnings and reasonable attomey's fees----on a party or attomey who          information in more than one form.
fails to comply.                                                                     (D) lnaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery ofelectonically stored information
 Q) Conmand lo Produce Muterlals ot Petmit Inspectlon.                            from sources that the person identifies as not reasonably accessible because
  (Al Appearance Not Required. A person commanded to produce                      ofundue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to           order, the person responding must show that the information is not
permit the inspection ofpremises, need not appear in person it the place of       reasonably accessible because ofundue burden or cost. Ifthat showing is
prortrction or ' spection unless also commanded to appear for a deposition,       made, the court may nonetheless order discovery from such sources ifthe
hearing, or trial.                                                                requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(bX2XC). The court may specifr conditions for the discovery.
things or to permit inspection may serve on the party or attomey desigrated
in the subpoena a written objection to inspecting, copying, testiirg, or-         (2) Claiming hivilege or Protecdon.
sampling any or all ofthe materials or to inspecting the premises---{r to          (A) Information Withheld. A person withholding subpoenaed information
producing elechonically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as hial-preparation
The objection must be served before the earlier ofthe time specified for          material must:
compliance or 14 days after the subpoena is sewed. If an objeotion is made,            (i) expressly make 1[s slaim; and
the following nrles apply:                                                             (ii) describe the nature of the withheld documents, comm'nications, or
      (i) A! any time, on notice to the commanded person, the serving party       tangible things in a manner thag without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected will enable the parties to assess the claim.
order compelling production or inspection.                                          (B) Information Produced. Ifinformation produced in response to a
      (ii) These acts may be required only as directed in the order, and the      subpoena is subject to 6 sleim ofprivilege or ofprotection as
order must protect a person who is neither a party nor a party's officer from     tial-preparation material, the person making the claim may notify any party
sipificant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly retum, sequester, or destoy the specified
 (3) Quashing or Modtlytng a Subpoeno.                                            information and any copies it has; must not use or disclose the information
   (A) IVhen Required. Ontimely motion, the court for the district where          until the claim is resolved; must talte reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                      information ifthe party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a pprson to comply beyond the geographical limits              compliance is required for a detennination ofthe claim. The person who
specified in Rule 45(c);                                                          prodrced the information must preserve the information until the claim is
     (iii) requires disclosure ofprivileged or other protected matter, ifno       resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B) IVhen Permitted. To protect a person subject to or affeoted by a            The court for the district where compliance is required-and also, after a
subpoen4 the court for the disfict where compliance is required may, on           motion is hansferred, the issuing court---ilay hold in contempt a person
motion, quash or modifr the subpoena if it requires:                              who, having been serve4 fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential researcb,               subpoena or an order related to it.
development, or commercial information; or




                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                                 RIDER
                          Subnoena to Erie Countv Distriet Attornev's Office

                                   DOCUMENTS TO BE PRODUCED
All non-privileged     records in the possession of the Erie County District Attorney's Office related

to the shooting at Tops Friendly Markets Store, 1275 Jefferson Ave, Buffalo NY 14208 on May

14,2022. This request includes, but is not limited to:


   l.        Any and all incident reports from May 14,2022 related to the apprehension and arrest of

            Payton Gendron and the injuries and fatalities inflicted by Payton Gendron;

   2.    Any and all firearm reports regarding the type of weapons and ammunition used, and/or

         dainage inflicted by such weapons and ammunition, at the      May 14,2}22Tops shooting.

   3. All medical       examiner reports related to victims of that shooting, including but not limited

        to

        a.     Roberta A. Drury, 32 years-old;

        b.      Margus D. Morrison, 52 years-old;

        c.     Andre Mackniel, 53 years-old;

        d.     Aaron Salter, 55 years-old;

        e.     Geraldine Talley, 62 years-old;

        f.     Celestine Chaney, 65 years-old;

        o Heyward Patterson, 67 years-old;
        E'

        h.     Katherine Massey, 72 years-old;

        i.     Pearl Young, 77 years-old;

        J      Ruth Whitfield, 86 years-old;

        k. Zaire Goodm an, 20 years-old;

        l.     Jennifer Warrington, 50 years-old;

                                                    1
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 m. Christopher   Braden, 55 years-old

 n.   Any other victim of the'May 14,2022 shooting who is not listed.




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      STATE'S ATTORNEY                                                        d-\*F*',e,.f t"s *s .e.
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                                                                                                                                     -        10. 2022

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A5A DAVID ADELMAN



                                                Ei-ie Criunt'v Distrlct Attorney's Office
                                                Ar:tn: Llistrict Attorr^,ey Jlhrr -i. Fiynri Pairl William:,
                                                Chief cf Appe:ls
                                                25 Dulaware Avenue, 6th Flc-ror
                                                Br.iffalo, NY 14202


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                          EXIIIBIT   B
           Case 1:22-mc-00014-JLS Document 1 Filed 06/30/22 Page 31 of 79



   SUPREME/COTINTY COURT               :   EzuE COUNTY


  THE PEOPLE OF THE STATE OF NEW YORK

                      against                                       ECDA Legacy No. 00877-2022
  PAYTON GENDRON


                    THE GRAND JURY OF THE COTINTY OF ERIE, by this indictment,                       accuses
  PAYTON GENDRON of the following crime:

                    FIRST COI.JNT: DOMESTIC ACT OF TERRORISM MOTIVATED BY HATE
                                                                               IN
  THE FIRST DEGREE, in violation of Penal Law g490.28, in that the said pAyTON
                                                                               GENDRON,
 on or about the 14th day of May ,2022, in this County, being more than         l8   years old at the time   of
 the commission of the crime, and     with intent to cause the death of, or serious physical injury to, five
 or more other persons, caused the death of at least one persoR, to wit:
                                                                         ROBERTA DRURy, and
 caused the death     of four or more additional persons, to wit: HEyWARD pATTERSON, pEARL

 YOLTNG,    RUTH WHITFIELD, CELESTINE CHANEY, AARON SALTER, ANDRE MACKMEL,

 MARGUS MORzuSON, KATHERINE MASSEY, and GERALDINE TALLEY,
                                                          none of whom
 were participants in the   criminal transaction, and the defendant did so in whole or in substantial part

 because   ofthe perceived race and/or color ofsuch person or persons regardless ofwhether
                                                                                           that belief
or perception was correct.

                   SECOND COUNT: AND THE GRAND JURY OF THE COUNTY oF ERIE, by

this indictment, accuses    PAyroN      GENDRON of the following crime:

                   MURDER IN THE FIRST DEGREE, in violation of Penal Law g125.27(t)(a)(viii),

in that the said   PAYTON GENDRON, on or about the 1 4th day of May , Z\ZZ;n this County, being

more than I 8 years old at the time of the commission of the crime, and with intent
                                                                                    to cause the death
of another person, caused the death of ROBERTA DRURY, who was not a participant in the

criminal transaction , and,as part of the same criminal transaction, the defendant, with intent
                                                                                                to cause
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  serious physical injury to or the death of an additional person, caused the death of HEYWARD

 PATTERSON, who was not a participant in the criminal transaction.

                  THIRD COUNT: AND THE GRAND JURY OF THE COLTNTY OF ERIE, bythis

 indictment, accuses PAYTON GENDRON of the following crime:

                  MURDER IN THE FIRST DEGREE, in violation of Penal Law                      g   125.27(l)(a)(viii),

 in that the said PAYTON GENDRON, on or about the 14th day of May,2022,in this County, being

 more than 18 years old at the time of the commission of the crime, and with intent to cause the death

 of another person, caused the death of HEYWARD PATTERSON, who was not                       a    participant in the

 criminal transaction, and,   as   part of the same criminal transaction, the defendant, with intent to cause

 serious physical injury to or the death of an additional person, caused the death of PEARL YOI-ING

 who was not a participant in the criminal transaction.

                 FOURTH COUNT: AND THE GRAND JURY OF THE COLINTY OF ERIE, by

this indictment, accuses PAYToN GENDRON of the following crime:

                 MURDER IN THE FIRST DEGREE, in violation of Penal Law g 125.27(l)(a)(vitl),

in that the said PAYTON GENDRON, on or about the l4th day of May ,2022, in this County, being

more than 18 years old at the time of the commission of the crime, and with intent to cause the death

of another person, caused the death of PEARL YOLTNG, who was not               a   participant in the criminal

transaction, and, as part of the same criminal transaction, the detbndant, with intent to cause serious

physical injury to or the death of an additional person, caused the death of RUTH WHITFIELD, who

was not a participant in the criminal transaction.

                FIFTH COLINT: AND THE GRAND JURY OF THE COLTNTY OF ERIE, by this

indictment, accuses PAYTON GENDRON of the following crime:

                MURDER IN THE FIRST DEGREE, in violation of Penal Law                    g   125.27(l)(a)(vili),

in that the said PAYTON GENDRON, on or about the l4th day of May ,2022,in this County, being

more than   l8 years old at the time ofthe commission of the crime,      and with intent to cause the death
        Case 1:22-mc-00014-JLS Document 1 Filed 06/30/22 Page 33 of 79




 of another person, caused the death of RUTH WHITFIELD, who was not a participant in                                  the

 criminal transaction, and,   as   part ofthe same criminal transaction, the defendant, with intent to cause

serious physical injury to or the death of an additional person, caused the death of CELESTINE

CHANEY, who was not           a   participant in the criminal transaction.

                SIXTH COTINT: AND THE GRAND JURY OF THE COLTNTY OF EzuE, by this

indictment, accuses PAYTON GENDRON of the following crime:

                MURDER IN THE FIRST DEGREE, in violation of Penal Law                      $ I 25   .27(   I   )(a)(viii),
in that the said PAYTON GENDRON, on or about the 14th day ofMay,2022,in this County, being

more than 18 years old at the time of the commission of the crime, and with intent to cause the death

of another person, caused the death of CELESTINE CHANEY, who was not a participant in the

criminal transaction, and,    as   part of the same criminal transaction, the defendant, with intent to cause

serious physical injury to or the death          of an additional person, caused the death of AARON
SALTER, who was not a participant in the criminal transaction.

                SEVENTH COTJNT: AND THE GRAND JURY OF THE COUNTY OF ERIE, by

this indictment, accuses PAYTON GENDRON of the following crime:

                MURDER IN THE FIRST DEGREE, in violation of Penal Law $ 125.27(l)(a)(viii),

in that the said PAYTON GENDRON, on or about the 14th day of May,2022, in this County, being

more than 18 years old at the time of the commission ofthe crime, and with intent to cause the death

of another person, caused the death of AARON SALTER, who was not                a   participant in the criminal

transaction, and, as part of the same criminal transaction, the defendant, with intent to cause serious

physical injury to or the death of an additional person, caused the death of ANDRE MACKNIEL,

who was not a participant in the criminal transaction.

               EIGHTH COIINT: AND THE GRAND JURY                      OF THE COLTNTY OF EzuE,                     bythis

inciictment, accuses PAYTON GENDRON of the foliowing crime:
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                   MURDER IN THE FIRST DEGREE, in violation of Penal Law 9125.27(1)(a)(viii),

 in that the said PAYTON GENDRON, on or about the i4th day of              May,2022,in this County, being

 more than 18 years old at the time of the commission of the crime, and with intent to cause the death

 of another person, caused the death of ANDRE MACKNIEL, who was not a participant in the

 criminal transaction, and,   as part   ofthe same criminal transaction, the defendant, with intentto cause

 serious physical injury to or the death        of an additional person, caused the death of MARGUS
MORzuSON, who was not a participant in the criminal transaction

                NINTH COLINT: AND THE GRAND JURY OF THE COLTNTY OF ERIE, by this

indictment, accuses PAYTON GENDRON of the following uime:

                MURDER IN THE FIRST DEGREE, in violation of Penal Law $ 125.27(1)(a)(viii),

in that the said PAYTON GENDRON, on or about the 14th day of May,2022,in this County, being

more than 18 years old at the time of the commission of the crime, and with intent to cause the death

of another person, caused the death of MARGUS MORRISON, who was not a participant in the

criminal transaction, and,    as   part ofthe same criminal transaction, the defendant, with intent to cause

serious physical    injory to or the death of an additional person, caused the death of KATHERINE

MASSEY, who was not a participant in the criminal transaction.

                TENTH COUNT: AND THE GRAND JURY OF THE COUNTY OF ERIE, bythis

indictment, accuses PAYI'ON GENDRON of the fbllowing crime:

               MURDER IN THE FIRST DEGREE, in violation of Penal Law $125.27(1)(a)(viii),

inthatthesaidPAYTONGENDRON,onoraboutthe                       l4thdayofMay,2022,inthisCounty,being

more than 18 years old at the time of the commission of the crime, and with intent to cause the death

of another person, caused the death of KATHERINE MASSEY, who was not a participant in the

criminal transaction, and,    as   part ofthe same criminal transaction, the defendant, with intent to cause

serious physical   injury to or the death of an additional person, caused the death of GtrRALDINIE

TALLEY, who was not a participant in the criminal transaction.
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                    ELEVENTH COUNT: AND THE GRAND JURY OF THE COUNTY OF ERIE,

 by this indictment, accuses   PAYTON GENDRON of the following crime:

                    MURDER IN THE FIRST DEGREE, in violation of Penal Law $ 125.27(l)(a)(viii),

 in that the said   PAYTON GENDRON, on or about the 14th day of May, 2022, in this County, being

 more than 18 years old at the time     ofthe commission of the crime, and with intent to cause the death

of another person, caused the death of GERALDINE TALLEY, who was not a participant in the

criminal transaction, and,   as part   of the same criminal transaction, the defendant, with intent to cause

serious physical injury to or the death of an additional person, caused the death of ROBERTA

DRURY, who was not a participant in the criminal transaction.

                    TWELFTH COUNT: AND THE GRAND JURY OF THE COLrNTY OF ERIE, by

this indictment, accuses PAYTON GENDRON of the following crime:

                    MURDER IN THE SECOND DEGREE, as a HATE CzuME, in violation of Penal

Law $$ 125.25(l),485.05(1xb), in that the said PAYTON GENDRON, on or about the 14th day of

May,2022, in this County, with intent to cause the death of another person, caused the death of

ROBERTA DRURY, and intentionally committed this act in whole or in substantial part because

of a belief or perception regarding the race and/or color of ROBERTA DRURY, regardless of

whether the beiief or perception was correct.

                    THIRTEENTH COUNT: AND THE GRAND JURY OF THE COUNTY OF ERIE,

by this indictment, accuses    PAYTON GENDRON of the following crime:

                    MURDER IN THE SECOND DEGREE, as a HATE CRIME, in violation of Penal

Law$$ 125.25(l),485.05(1Xb),inthatthesaidPAYTONGENDRON,onoraboutthe                             l4thdayof
May,2022, in this County, with intent to cause the death of another person, caused the death of

HEYWARD PATTERSON, and intentionally committed this act in whole or in substantial part

because   of a belief or perception regarding the race and/or color of HEYV/ARD PATTERSON,

regardless of whether the belief or perception was correct.
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                 FOURTEENTH COUNT: AND THE GRAND ruRY OF THE COLTNTY OF ERIE

 by this indictment, accuses PAYTON GENDRON of the following crime:

                MURDER IN THE SECOND DEGREE, as a HATE CzuME, in violation of Penal

 Law$$ 125.25(1),485.05(lXb),inthatthesaidPAYTONGENDRON,onoraboutthel4thdayof

 May, 2022, in this County, with intent to cause the death of another person, caused the death of

 PEARL YOUNG, and intentionally committed this act in whole or in substantial part because of a

 belief or perception regarding the race and/or color of PEARL YOLING, regardless of whether the

 belief or perception was correct.

                FIFTEENTH COUNT: AND THE GRAND JURY OF THE COLINTY OF EzuE.

by this indictment, accuses PAYTON GENDRON of the following crime:

                MURDER IN THE SECOND DEGREE, as a HATE CzuME, in violation of Penal

Law$$ 125.25(l),485.05(1xb),inthatthesaidPAYTONGENDRON,onoraboutthel4thdayof

May,2022, in this County, with intent to cause the death of another person, caused the death of

RUTH WHITFIELD, and intentionally committed this act in whole or in substantial part    because

of a belief or perception regarding the race and/or color of RUTH WHITFIELD, regardless of

whether the belief or perception was correct.

                SIXTEENTH COLINT: AND THE GRAND ruRY OF THE COUNTY OF ERIE,

by this indictment, accuses PAYTON GENDRON of the following crime:

                MURDER IN THE SECOND DEGREE, as a HATE CzuME, in violation of Penal

Law $$ 125.25(l),485.05(1xb), in that the said PAYTON GENDRON, on or aboutthe 14th day of

May,2022, in this County, with intent to cause the death of another person, caused the death of

CELESTINE CHANEY, and intentionally committed this act in whole or in substantial part because

of a belief or perception regarding the race and/or color of CELESTINE CHANEY, regardless of

whether tiie beiief or perception was correct.
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                  SEVENTEENTH COUNT: AND THE GRAND JURY OF THE COLINTY OF

 EzuE, by this indictment, accuses PAYTON GENDRON of the following crime:

                 MURDER IN THE SECOND DEGREE, as a HATE CzuME, in violation of Penal

 Law $$ 125.25(l),485.05(1xb), in that the said PAYTON GENDRON, on or about the 14th day      of
 May,2022, in this County, with intent to cause the death of another person, caused the death of

 AARON SALTER, and intentionally committed this act in whole or in substantial part because of

 a   belief or perception regarding the race and/or color of AARON SALTER, regardless of whether

 the belief or perception was correct.

                 EIGHTEENTH COLINT: AND THE GRAND JURY OF THE COLTNTY OF ERIE,

 by this indictment, accuses PAYTON GENDRON of the following crime:

                 MURDER IN THE SECOND DEGREE, as aHATE CRIME, in violation of Penai

Law $$ 125.25(l),485.05(1xb), in that the said PAYTON GENDRON, on or about the 14th day of

May,2022, in this County, with intent to cause the death of another person, caused the death of

ANDRE MACKNIEL, and intentionally committed this act in whole or in substantial part because

of a belief or perception regarding the race and/or color of ANDRE MACKNIEL, regardless of

whether the belief or perception was correct.

                 NINETEENTH COLINT: AND THE GRAND JURY OF THE COUNTY OF ERIE,

by this inciictment, accuses PAYTON GENDRON of the ioiiowing crime:

                 MURDER IN THE SECOND DEGREE, as a HATE CRIME, in violation of Penal

Law$$ 125.25(l),485.05(lxb),inthatthesaidPAYTONGENDRON,onoraboutthel4thdayof

May,2022, in this County, with intent to cause the death of another person, caused the death of

MARGUS MORzuSON, and intentionally committed this act in whole or in substantial part because

of a belief or perception regarding the race andlor color of MARGUS MORzuSON, regardless of

whether the belief or perception \^/as correct.
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                TWENTIETH COUNT: AND THE GRAND JURY OF THE COUNTY OF EzuE,

 by this indictment, accuses PAYTON GENDRON of the following crime:

                MURDER IN THE SECOND DEGREE,              as a   HATE CRIME, in violation of Penal

 Law$$ 125.25(l),485.05(1xb),inthatthesaidPAYTONGENDRON,onoraboutthel4thdayof

 May,2022, in this County, with intent to cause the death of another person, caused the death of

KATHERINE MASSEY, andintentionallycommittedthis actinwhole orinsubstantial partbecause

of a belief or perception regarding the race and/or.color of KATHERINE MASSEY, regardless of

whether the belief or perception was correct.

                TWENTY-FIRST COTJNT: AND THE GRAND JURY OF THE COUNTY OF

ERIE, by this indictment, accuses PAYTON GENDRON of the following crime:

               MURDER IN THE SECOND DEGREE,               as a   HATE CRIME, in violation of Penal

Law$$ 125.25(l),485.05(lxb),inthatthesaidPAYTONGENDRON,onoraboutthe                      l4thdayof
May,2022, in this County, with intent to cause the death of another person, caused the death of

GERALDINE TALLEY, and intentionally committed this act in whole or in substantial part because

of a belief or perception regarding the race and/or color of GERALDINE TALLEY, regardless of

whether the belief or perception was correct.

               TWENTY-SECOND COLINT: AND THE GRAND JURY OF THE COUNTY OF

EzuE, by this inciictment, accuses PAYTON GENDR.ON oithe ioiiowing crime:

               ATTEMPTED MURDER IN THE SECOND DEGREE, as a HATE CRIME, in

violation of Penal Law $$ 110.00, 125.25(l),485.05(1Xb), in that the said PAYTON GENDRON,

on or about the l4th day of May,2022, in this County, with intent to cause the death of another

person, attempted to cause the death of ZAIRE GOODMAN, and intentionally committed this act

in whole or in substantial part because of a belief or perception regarding the race and/or color of

ZAIRE GOODMAN, regardless of whether the belief or perception was correct.
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                 TWENTY-THIRD COUNT: AND THE GRAND JURY OF THE COTINTY OF

 EzuE, by this indictment, accuses PAYTON GENDRON of the following crime:

                 ATTEMPTED MURDER IN THE SECOND DEGREE, as a HATE CRIME, in

 violation of Penal Law $$ I 10.00, 125.25(L),485.05(1Xb), in that the said PAYTON GENDRON

 on or about the l4th day of May,2022, in this County, with intent to cause the death of another

 person> attemptedto cause the   deathofCHRISTOPHERBRADEN, and intentionally committedthis

 act in whole or in substantial part because of a belief or perception regarding the race and/or color

 of another person, regardless of whether the belief or perception was correct.

                TWENTY-FOURTH COUNT: AND THE GRAND JURY OF THE COLINTY OF

ERIE, by this indictment, accuses PAYTON GENDRON of the following crime:

                ATTEMPTED MURDER IN THE SECOND DEGREE, as a HATE CRIME, in

violation of Penal Law $$ 110.00, 125.25(I),4S5.05(1Xb), in that the said PAYTON GENDRON,

on or about the l4th day of May,2022, in this County, with intent to cause the death of another

person, attempted to cause the death of JENNIFER WARRINGTON, and intentionally committed

this act in whole or in substantial part because of a belief or perception regarding the race and/or

color of another person, regardless of whether the belief or perception was correct.

                TWENTY-FIFTH COTINT: AND THE GRAND JURY OF THE COLTNTY oF

ERIE, by this inciictment, accuses PAYTON GENDRON of the foiiowing crime:

                CRIMINAL POSSESSION OF A WEAPON IN THE SECOND DEGREE, AN

ARMED FELONY, in violation of Penal Law $265.03(3), in that the said PAYTON GENDRON,

on or about the 14th day of May,2022,in this County, knowingly possessed a loaded firearm, to wit:

an assault weapon.



                                                S/JO.HN J. FLYIIN
                                               JOHN J. FLYNN
                                               DISTRICT ATTORNEY OF EzuE
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                                                                 tp
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                                                      At a tcrm of the Buffalo City Court, held in
                                                      and for the City of Buffalo, on the 27th of
                                                      May,2A22.
                                                                                                  E3
 PRESENT: HON. CRAIC HANNAH                                                                       F'
                                                                                                  FJ
          Buffalo City Court Judge                                                                 -:1,lt    rl
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                                                                                                                rq
                                                                                                    N        (t   (-r
                                                                                                    -J       ,:C
STATE OF NEW YORK                                                                                    {       -{.t,
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                 :
CITY COURT CITY OF BUFFALO                                                                           -q't     '.ir
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                                                                                                                     tll

                                                                                                       t\t     *
                                                                                                        dr
THE PEOPLE OF THE STATE OF NEW YORK
                                                             QllpsB.REcARprNc
                                                             EXTBAJUpTCIAL COMMENTS
                      v

PAYTON CENDRON,                                              Erie County DA Legacy No. 00877-
                                      Defendant              2022


STATE OF NEW YORK             )
COUNTY OF ERIE                ) ss.
CITY OF BUFFALO               )


       Upon agreement between BRIAN K. PARKER, Ese., ROBERT J. curTNG, ESe., and
DANIEL DUBOIS, ESQ., attorneys for the defendang and JOHN            J.    FLYNN, District Attorney of
Erie County, on May 27,2022, in an effort not to impact the integrity and fairness of these
prcceedings, it is hereby



      ORDERED that Erie County District Attorney JOHN J. FLYNN and his representatives
      are permitted   to   make public comment and take questions on this case following
      defendant's arraignment on indictment in Superior Court. Such commenls and answers
      will be limited to the charges contained in the indictment,   the elements of the charges, and
      an explanation of the relevant criminal procedure. There      will   be no disoussion of the facts
      or evidence associated with the case.
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     It is agreed that, after these comments        are made, the District Attorney and his
     representatives, and the attorneys for the defendant,    will refrain from extrajudicial public
     remarks regarding the subject matter of this case until after the charges are resolved in Erie

     County or supreme Court, whether by conviction, acquittal, or some other manner.


     Should the need arise, the People and/or the defense may make application to the assigned
    judge to modip or amend this order. The order dated May 2s,z02z and captioned                 as

     "Order Restraining Extrajudicial Comments"     is   terminated and is superseded by this Order
     which addresses the defendant's application.




                                                            **         3. l/"'-*'6
                                                         Hon. Craig Hannah
                                                         Buffalo City Court Judge


Granted:    This 27th day of May,Z\Z2.
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                          EXHIBTT   D
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 AO   9l (Rev. I l/l   l)   Criminat Complaint



                                                 UNrrBo Srerps DrsrRlcr Counr
                                                                        for the
                                                           Western District of New York

                        United States of America                           )
                                                                           )
                                                                           )      Case   No.       22-mj-124
                                                                           )
                              PAYTON GENDRON                               )
                                                                           )
                                                                           )
                                     Defendant


                                                       CRIMINAL COMPLAINT
               I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date             of                 Mav I 4   to))                the county      of                 Erie                the
       Western                  District of         New York           the defendant violated:

                 Code Section                                                       Offense Description

 l8 U.S.C. $ 2a9(a)(l)                                                Hate Crime Resulting in Death
 (l0 counts)

 l8 U.S.C. $ 2ae(a)(1)                                                Hate Crime Involving Bodily Injury and Attempt to            Kill
 (3 counts)

 l8 U.S.c. $$ e2a(cXl)(Axiii) and e24(iXl)                            Use of a Firearm to Commit Murder During and in Relation
 (10 counts)                                                          to a Crime of Violence

 l8 U.S.C. $ e2a(c)(1)(A)(iii)                                        Use and Discharge of     a   Firearm During and in Relation to a
 (3 counts)                                                           Crime of Violence


This criminal complaint is based on these facts:
 See Attached          Affidavit, incorporated herein by reference

           X       Continued on the attached sheet.
                                                                                      e,"*72^.
                                                                                                                    's signahtre
Affidavit and Criminal Complaint submitted
electronically by e-mail in .pdf format. Oath                                     Christopher J. Dlugokinski, Special Agent, FBI
administered, and contents and signature                                                                Printed name and title
attested to me as true and accurate
telephonically pursuant to Fed.R.Crim.P. 4.1
and 4(d):

Date: tun" 1Qzoz2                                                                     1\
                                                                                                          Judge's signature

City and state: Buffalo. New York                                                 Hon. H. Kenneth Schroeder, Jr., U.S. Magistrate Judge
                                                                                                        Printed name and title
        Case 1:22-mc-00014-JLS Document 1 Filed 06/30/22 Page 45 of 79




                  AIIFIDAVIT IN      SI.JPPORT OF    CRIMINAL COMPLAINT



srATE OF NEW YORK              )
couNTY oF ERrE                 )        SS
crTY oF          BUFFALO       )




        I, CHRISTOPHER J. DLUGOKINSKI, being duly sworn,                   depose and state the

following:



                                         INTRODUCTION

         I   .    I am a Special Agent with   the Federal Bureau of Investigation   ("FBI"), United

States Department of Justice.      I have served as an FBI Special Agent   since   May 2018 and am

currently assigned to FBI Buffalo Division Joint Terrorism Task Force ("JTTF"). As an FBI

Special Agent,    I am responsible for investigating violations of federal criminal law, including

violations of federal civil rights and f,rrearms laws. During my career with the FBI,        I   have

participated in investigations involving violent crime, drug trafficking networks, organized

crime and racketeering influenced comrptorganizations ("RICO"), street gangs, and national

security matters (including international terrorism). In addition, I have had the opportunity

to work with numerous FBI agents and other law enforcement agents and officers of varying

experience levels, who have also investigated these crimes in the Western District of New

York.



        2.        This affidavit is submitted in support of a criminal complaint charging

PAYTON GENDRON ("GENDRON") with violations of 18 U.S.C. $$ 2a9(aX1) (hate
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 crime resulting    in death and hate     crime involving bodily injury and attempt         to kill),
 924(c)(1)(A)(iii) and 924OQ) (use of a firearm to commit murder during and in relation to a

 crime of violence), and 92a(c)(l)(A)(iii) (use and discharge of a firearm during and in relation

 to a crime of violence).



        3.      I   am familiar with the facts and circumstances of this investigation, such

familiarity having been gained through my personal knowledge based upon my participation

in this investigation;   statements   by and/or reports provided to me by law         enforcement

personnel of federal, state, and local agencies; witness interviews; video footage from a GoPro

camera recovered from GENDRON; information developed through public sources to

include social media accounts linked to GENDRON; interviews of various witnesses;review

of surveillance     camera footage; records checks     of various public and law enforcement
databases; records obtained     from Discord, Inc. ("Discord") pursuant to a federal         search

warrant; and other information developed by law enforcement officers and intelligence

analysts working on this investigation.




       4.      Because this affidavit is being submitted     for a limited purpose, that is, to
establish probable cause that GENDRON committed the specified offenses,                I   have not

presented all of the facts of this investigation to date.




                                   RELEVA}IT STATUTES

       5.      Title 18, United   States Code, Section 2a9@)(l) makes    it   a federal crime for a

person to willfully cause bodily injury to any person or, through the use of a firearm, to




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attempt to cause bodily injury to any person, because of the actual or perceived race or color

of the person. Sections      2 9@)(l)(BXi)    and (ii) provide for increased penalties when the offense

results in death or when the offense involves an attempt to kill. A violation of section 2a9@)(l)

is a federal crime of violence.




       6.      Title   18,   United States Code, Section 92a(cXlXA)(iii) makes it a federal crime

to knowingly use or carry a firearm during and in relation to a crime of violence forwhich the

person may be prosecuted in a court of the United States and includes increased penalties

when the firearm is discharged. Section 924$)(l) provides for additional increased penalties

when, in the course of       a   violation of section92a@)Q)(Axiii), the perpetrator causes the death

of anotherperson, andthe killingis amurderas definedin 18 U.S.C.01111. Section                     llll
defines "murder" as the unlawful killing of a human being with malice aforethought.




                        FACTS ESTABLISHING PROBABLE CAUSE

       7.      On May 14, 2022, at approximately 2:30 p.m., GENDRON                   -   an l8-year-old

white male from Conklin, New York               - committed   a mass shooting attack targeting Black

people at Tops Friendly Market at 1275 Jefferson Avenue in Buffalo, New York ("Tops").

The mass shooting, which GENDRON live-streamed on the Internet, resulted in the deaths

of 10 Black people, and non-fatal            gunshot wounds to one (1) Black person and two (2)

Caucasian people. GENDRON's motive for the mass shooting was to prevent Black people

from replacing white people and eliminating the white race, and to inspire others to commit

similar attacks.




                                                      3
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       8.       At the time of the attack, GENDRON arrived at Tops in a blue Ford Taurus

("Taurus"), drove to the front of the store, and came to a stop. He emerged from the car

wearing a tactical-style helmet, camouflage clothing, body armor, and a GoPro video camera,

and carrying a loaded Bushmaster XM-15 .223 callber rifle and multiple loaded magazines.

After exiting the Taurus, GENDRON aimed the rifle at a Black person ("Victim 1") walking

in the parking lot and shot and killed Victim 1. GENDRON immediately started shooting at

other Black people in the parking lot and near the enffance to Tops. During this rapid

succession of shots,     GENDRON shot and injured one Black person ("Victim 2") and shot

and killed two Black people ("Victim        3"   and   "Victim 4"). A Black security guard, who had

been standing near Victims 2 and 3, retreated inside the store. After GENDRON shot Victim

4, he fired several shots through the front window of the store and went to the entrance. As

he approached the entrance, he shot Victim 3 again while Victim 3 was on the ground to

ensure that   Victim   3 was dead.   Victim 2, who was lying motionless on the ground near Victim

3, survived and was able to flee the scene after GENDRON entered the store.




       9.       After shooting the first fourvictims, killing three of them, GENDRON entered

the store, and immediately shot and killed two more Black people ("Victim               5"   and   "Victim

6"), who were on the ground. At that time, GENDRON and the armed Black security guard

("Victim 7") exchanged gunfire; GENDRON aimed at, shot, and killed YicrimT.



       10.      After GENDRON killed Victim            7, he   tumed and aimed his rifle at a white male

Tops employee ("Victim 8"), who, at some point during the attack, had been shot in the leg

and injured. Rather than shooting him, GENDRON said, "sor4r," to Victim 8, before moving




                                                   4
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on through the rest of the store in search of more Black people to shoot and kill. At some

point during the attack, one of the shots also sffuck a white female Tops employee ("Victim

9") in the pharmacy arca of the store, which is located near the checkout lanes. Victims 8 and

9 survived the attack.




         11.    Next, GENDRON walked through the store's checkout lane, and shot and

killed a Black person ("Victim 10"), who was in that area. GENDRON then moved through

the aisles of the store and shot and killed three additional Black people ("Victim 11", "Victim

12"   , and "Victim 13"). GENDRON, still armed with the rifle, ultimately returned to the front

of the store.



         12.    As GENDRON was shooting inside the store, numerous customers and Tops

employees ran to the rear of the store and took shelter in a stock room, a conference room, a

freezer, and a dairy cooler. Many others fled the store through the rear door.




         13.    When GENDRON returned to the front of the store, members of the Buffalo

Police Department ("BPD") encountered him and took him into custody. At that time,

offtcers recovered the rifle used in the attack from GENDRON. The rifle had various writings

on it, including, but not limited to, the names of others who have committed mass shootings,

racial slurs, the statement "Here's your reparations!," and the phrase "The Great

Replacement." Law enforcement later determined that GENDRON live-streamed part of the

attack on the Internet. Ballistics evidence recovered at the Tops indicates that GENDRON

fired approximately 60 shots during the attack.




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        14.    After GENDRON was arrested, BPD officers recovered a loaded L2-gauge

shotgun, a loaded bolt-action rifle, and three loaded rifle magazines from the Taurus.




       15.     On May 15,2022, the FBI executed a federal search warrant at GENDRON's

home in Conklin, New York. During the search, the FBI recovered a handwritten note in

GENDRON's bedroom in which GENDRONT apologizedto his family for committing "this

attack" and stated that he "had to commit this attack" because he cares "for the future of the

White race." The FBI also recovered from GENDRON's bedroom          a receipt   for the purchase

of a candy bar at the Tops on March 8,2022, and handwritten sketches of what appear to be

the interior layout of the Tops.




     GENDRON'S PLANNING AND PREPARATION FOR THE TOPS ATTACK

       16. In the months preceding         the attack, GENDRON wrote a            self-described

manifesto2 containing a detailed plan to shoot and    kill Black people at the Tops at 1275
Jefferson Avenue3 using a Bushmaster XM-15 rifle,     a diagram of the interior layout of the
store, a discussion   of the clothing and equipment that he would use during the attack
(including a helmet, body armor, and GoPro camera), and statements that his motivation for




I GENDRON signed the note and addressed
                                        it to his family.
2
  Law enforcement recovered alaptop computer in GENDRON's Taurus, which contained
a draft working copy of the manifesto. Additionally, law enforcement recovered a version of
the self-described manifesto on the internet.

r The manifesto referred to the planned attack taking place in the zip code 14208, and the
Tops located at 1275 Jefferson Avenue is within zip code 14208.In addition, as detailed
herein, GENDRON specifically identified the Tops at 1275 Jefferson Avenue as the target of
the attack in posts made to his Discord account.


                                              6
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the attack was to prevent Black people from replacing white people and eliminating the white

tace, and     to inspire others to commit similar     racially-motivated attacks. Specifically,

GENDRON wrote the following in the manifesto:

         a.     that he is "ethnically white," has never been diagnosed with "a mental
                disability or disorder," and that he was "perfectly sane";

         b.     that he was "a White man seeking to protect and serve my community,
                my people, my culture, and my race";

         c.     that he was "the sole perpeffator of this attempted mass shooting";

         d.     that he had been preparing for the affack for a few yea$, and he
                "actually got serious" about the attack in the beginning of January
                2022;a

         e.     that the goals of the attack were to "Kill as many blacks as possible,"
                "Avoid dying," and "Spread ideals";

         t.     that he was targeting Black people because "[t]hey ate an obvious,
                visible, andlarge group of replacers . . . that seek to occupy my peoples
                [sic] lands and ethnically replace my own people . . .";

         g.     that he selected atargetin the area code 14208 because it has the highest
                percentage of Black people close enough to where he lives;

         h.     that he selected the Tops store in area code 14208 because it is where a
                high percentage and high density of Black people can be found;

         1.     that he made amap of the inside of the Tops store "and decided the best
                plan of attack for highest chance of success";

                that he was inspired to commit the attack by other racially-motivated
                mass murderers; and

         k.     that he would livestream a video of the attack and publish the manifesto
                online "to increase coverage and spread [his] beliefs."




a
    On January 19,2022, GENDRON purchased the Bushmaster XM-l 5, .223 caliber rifle that
he used during the Tops attack.



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            17.    GENDRON also chronicled the progress and development of his plan on his

    Discord account in the months leading up to the attack.s He stated that his motivation for the

    attack was to prevent Black people from replacing white people and eliminating the white

    tace, and to inspire others to commit similar racially-motivated attacks. He also wrote about

    his acquisition of fi.rearms, ammunition, firearm magazines. body annor, a GoPro camera,

    and other supplies for the attack; his testing of the firearms, ammunition, firearm magazines,

    and GoPro camera, in preparation for the attack; his drafting of the above-described

    manifesto; his selection of the Tops as the target of the attack; and his drafting of a "goodbye

    letter" to his family (which is believed to be the apology letter found in his bedroom).



           18.    Based on   GENDRON's Discord entries and other evidence gathered during

this investigation, I determined that GENDRON traveled to the Tops to scout the location

on several occasions prior to the attack. On March 8,2022, he went to the Tops at least three

times. During those trips, he created two sketches of the interior layout of the store (which

are believed to be the sketches found in his bedroom), counted the number of Black people

present inside and outside the store, observed the presence of fwo armed Black security

guards, and noted the number of Black people in the area of the cash registers. In the aftemoon

on May 13,2022, the day before the attack, he went to the Tops and spent time in front of

and inside the store. Finally, at approximately noon on May 14,2022, only two and a half

hours before the attack, he went to the Tops and observed a "healthy amount of old and

young" Black people in the store and noted where the security guard was positioned.




s
 GENDRON's Discord posts were not available to the public until he shared them with other
users shortly before the attack.


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                                             CONCLUSION

          19.    I submit that, based on the evidence described in this afffidavit, there       is probable

cause    to believe that GENDRON violated 18 U.S.C. $ 2a9(a)(1) by shooting and killing

Victims 1, 3 throughT, and 10 through 13, because of their actual and perceived race and

color. This complaint alleges        l0   counts of hate crimes resulting in death, one for each of

Victims 1, 3 through 7, and     10   through   13.




          20.    I further submit that, based on the          evidence described in this affidavit, there is

probable cause to believe that GENDRON violated 18 U.S.C. $ 249(a)(1) by shooting and

attempting to kill Victim 2 because of Victim 2's actual and perceived race and color, and by

causing the shooting of Victims 8 and 9, while he was attempting to                kill Black people at the

Tops because of their actual and perceived race and color.6 This complaint alleges three

counts of hate crimes involving bodily injury and an attempt to kill, one for each of Victims

2,8, and9.



          21. I further submit that, based on the evidence in this affidavit, there is probable
cause to believe that GENDRON violated               l8 U.S.C.     $$   924(c)(1)(Axiii) and92 Q)(1) as to

Victims I , 3 through 7 , and   10   through 13. There is probable cause that GENDRON, during

and in relation to the commission of a crime of violence for which he may be prosecuted in a

court of the United States, that is, the 10 counts of hate crimes resulting in death alleged in

the complaint, knowingly used and carried a firearm. There is further probable cause to


6
    The doctrine of transferred intent permits the transfer of the intent to kill when a perpetrator
shoots at one person with the intent to kill, but inadvertently strikes another person. See United
Statesv. Rahman,189 F.3d 88, 141 (2d          Cir.   1999).


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believe that   GENDRON discharged           a firearm during the course of each of the said offenses.

I further submit that -   based on GENDRON's extensive efforts to plan and prepare for the

attack at Tops, and his stated goal of killing as many Black people as possible during the attack

-    there is probable cause to believe that GENDRON committed the killings with malice

aforethought and, therefore, such killings constituted murders within the meaning                        of 18
U.S.C. 0 1111. This complaint alleges 10 counts of use and discharge of a firearm to commit

murder during and in relation to a crime of violence, one for each of Victims 1, 3 through 7,

and 10 through 13.



         22. I further submit that, based on the evidence in this affidavit,                  there is probable

cause to believe that   GENDRON violated         18   U.S.C.   $   924(c)(lXA)(iii)   as to   Victims 2, 8, and

9.   There is probable cause that GENDRON, during and in relation to the commission of a

crime of violence for which he may be prosecuted in a court of the United States, that is, the

three counts of hate crimes involving an attempt to kill alleged in the complaint, knowingly

used and carried    a ftearm. There is further probable              cause to believe that GENDRON

discharged a firearm during the course of each of the said offenses. This complaint alleges

three counts of use and discharge of a firearm during and in relation to a crime of violence,

one for each of Victims 2, 8, and 9.




        WIIEREFORE, based on the foregoing, I submit there is probable cause to believe

that, on or about May 14,2022, in the Western District of New York, PAYTON GENDRON

committed violations of 18 U.S.C.      $$   2a9(aXl) (hate crime resulting in death and hate crime

involving bodily injury and attempt to kill), 924(c)(1)(A)(iii) and 924OQ) (use of a tuearm




                                                      10
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to commit murder during and in relation to a crime of violence), and 924(c)(1)(A)(iii) (use

and discharge of a firearm during and in relation to a crime of violence).




                                                   CHRISTOPHER . DLUGOKINSKI
                                                   FBI Special Agent


Affidavit and Criminal Complaint submitted
electronically by email in .pdf format. Oath
administered, and contents and signature,
attested to me as true and accurate
telephonically pursu4nt to Fed.R.Crim.P. 4.1
una a1a; on June 15 ,2022,


1\
HONORABLE H. KENNETH SCHROEDER, JR.
United States Magistrate Judge
Western District of New York




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                         EXHIBIT   E
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                           IN UNITED STATES DISTRICT COURT

                       FOR THE NORTHERN DISTRICT OF ILLINOTS


 Cutberto Viramontes, an individual and resident     of
 Cook County,Illinois;
                                                              No.
 Rubi Joyal, an individual and resident of
 Cook County, Illinois;

 Christopher Khaya, an individual and resident of
 Cook County, Illinois;

 SECOND AMENDMENT FOUNDATION; and

 FTREARMS POLICY COALITION, INC.,

        Plaintffi,                                            COMPLAINT

V


THE COUNTY OF COOK, a body politic and
corporate;

TONI PRECKWINKLE, in her official capacity           as
County Board President and Chief Executive
Officer of Cook County;

KIMBERLY M. FOXX, in her official capacity       as
State's Attomey; and

THOMAS DART, in his official capacity as Sheriff,         :



       Defendants.




       Plaintiffs curBERTo VIRAMONTES, RUBI JoyAL, CHRISTOPHER KHAYA,

SECOND AMENDMENT FOUNDATION ("SAF"), and FIREARMS POLICY COALITION,

INC. ("FPC") (collectively, "Plaintiffs"), by and through counsel of record, bring this complaint

against Defendants, the County of Cook, Illinois, and county officials responsible for enacting and

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enforcing a county ordinance infringing the right of law-abiding citizens to keep and bear

commonly possessed firearms for defense of self and family and for other lawful purposes, and

allege as follows:


                                                       INTRODUCTION

                1.        The Second Amendment to the United States Constitution guarantees "the right                  of

the people to keep and bear Arms." U.S. CoNsr. amend. IL Under this constitutional provision,

citizens such          as   Plaintiffs Cutberto Viramontes, Rubi Joyal, and Christopher Khaya who are legally

eligible to possess and acquire frrearms, have a fundamental, constitutionally guaranteed right to

keep common firearms for defense of self and family and for other lawful pursuits.

                2.        But Defendants have enacted and enforced a flat prohibition on the gift, transfer,

acquisition, carry, or possession, of many common semiautomatic rifles-tendentiously labeled

"assault weapons"-by ordinary citizens, making                           it criminal for law-abiding citizens to exercise

their fundamental right to keep and bear such arms.                      ,See   Code of Ordinances of Cook CnW .,Ill.   $$


5   4   -212,   54   -2 | 4(a) (D ec. I 5, 2020), https : //bit. ly I 2Lcts7    5.



                3.        The County's very limited exemptions for certain persons from this broad criminal

statute do not allow typical law-abiding citizens to keep and bear these common firearms. See id.


$ sa-212(a).

            4.            Defendants' enactment and enforcement of Cook County's prohibition on common

semiautomatic rifles tendentiously and inaccurately labelled assault weapons denies individuals

who reside in the County, including individual Plaintiffs and members of SAF and FPC, their

fundamental, individual right to keep and bear common anns.

                5.        To be sure, Plaintiffs acknowledge that the result they seek is contrary to Wilson v.

Cook County,937 F.3d 1028 (7th Cir. 2019), and Friedman v. City of Highland Park,784 F.3d




                                                                   -2-
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 406 (7th Cir. 2015), but Plaintiffs submit those cases were wrongly decided. They therefore

 institute this litigation to vindicate their Second Amendment rights and seek to have l4/ilson and,

 Friedman ovemrled.

                                       JURTSDICTION & VF'NUE

        6.       This Court has subject-matter jurisdiction over all claims for relief pursuant to

 28 U.S.C. S$ 1331 and 1343.

        7.       Plaintiffs seek remedies under 28 U.S.C. $$ 1651, 2201, and2202 and,42 U.S.C.

 $$ 1983 and 1988.

        8.       Venue lies in this Court under 28 U.S.C. $ 1391(bxl) and (b)(2).

                                                  PARTIES

        9.       Plaintiff Cutberto Viramontes is a natural person, a resident of Cook County,

Illinois, an adult over the age of 21, a citizen of the United States and the State of Illinois, and

legally eligible under federal and state law to possess and acquire firearms. Plaintiff Cutberto

Viramontes is a member of Plaintiffs SAF and FPC.

        10.      Plaintiff Rubi Joyal is a natural person,    a resident   of Cook County, Illinois, an adult

over the age of 21, a citizen of the United States and the State of lllinois, and legally eligible

under federal and state law to possess and acquire firearms. Plaintiff Rubi Joyal is a member              of
Plaintiffs SAF and FPC.

        1   1.   Plaintiff Christopher Khaya is a natural person,     a resident of Cook    County, Illinois,

an adult over the age    of 21, a   citizen   of the United   States and the State   of Illinois, and legally

eligible under federal and state law to possess and acquire firearms. Plaintiff Christopher Khaya is

a member    of Plaintiffs SAF and FPC.

       12.       Plaintiff Second Amendment Foundation ("SAF")                   is a   501(c)(3) nonprofit




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educational foundation incorporatedin 1974 under the laws of Washington with its principal place

of business in Bellevue, Washington. SAF's mission is to preserve the individual constitutional

right to keep and bear arms through public education, judicial, historical, and economic research,

publishing, and legal-action programs focused on the civil right guaranteed by the Second

Amendment to the United States Constitution. SAF has members nationwide, including in Cook

County. SAF brings this action on behalf of its members, including Plaintiffs Cutberto Viramontes,

Rubi Joyal, and Christopher Khaya, who seek to exercise their right to keep and bear common

semiautomatic arms for lawful purposes in Cook County.

        13.    Plaintiff Firearms Policy Coalition, Inc. ("FPC")              is a   501(c)(a) nonprofit

organization incorporated under the laws of Delaware with a place of business in Sacramento,

Califomia. The purposes of FPC include defending and promoting the People's rights, especially,

but not limited to, the fundamental, individual Second Amendment right to keep and bear arms,

advancing individual liberty, and restoring freedom. FPC serves its members and the public

through legislative advocacy, grassroots advocacy, litigation and legal efforts, research, education,

outreach, and other programs. FPC brings this action on behalf of its members, including Plaintiffs

Cutberto Viramontes, Rubi Joyal, and Christopher Khaya , who seek to exercise their right to keep

and bear common semiautomatic arms for lawful pulposes in Cook County.

        14.    Defendant the County      of Cook is a county in the State of Illinois. It is "a body

politic and corporate" that'omay . . . be sued." 55 Il. Comp. Stat. Ann. 5/5-1001. As        a county   with

an elected chief executive officer,   it is permitted,   under Illinois law, to   "(l) exercise any power
and perform any function pertaining to its government and affairs, or (2) exercise those powers

within traditional areas of county activity, except   as   limited by the Illinois Constitution or a proper

limiting statute, notwithstanding effects on competition." 55 ilI. Comp. Stat. Ann. 512-5016;            see




                                                   -4-
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 also Ill. Const. art.   VII,   $ 6. The County has exercised that power to pass its unconstitutional ban

 on rifles mischaracterized as assault weapons.

         15.     Defendant Toni Preckwinkle            is    President   of the Cook        County Board of

 Commissioners and the chief executive officer of the County. Office of the President,CookCounty

 Government, https://bit.ly/2XlnmJq (last visited Dec. 31, 2020). As such, she is empowered to

 approve orveto any ordinance passed by the Board, 55           Ill. Comp.   Stat.   Ann. 512-50l0,and obliged

 to "see that all of the orders, resolutions and regulations of the board are faithfully executed,"         l'd.

 512-5009(z). The President approved the County's unconstitutional ban on rifles mischaracterized

 as assault weapons. See Cook County Board Bans Assault Weapons, Toughens Penalties, Cook

County Government (July | 7, 20 l3), https //bit. lyl3 g 0I I Ur.
                                                 :




        16'      Defendant Kimberly M. Foxx is State's Attorney for Cook County, Illinois. In such

capacity, Foxx enforces the County's ordinances, including its unconstitutional ban on rifles

mischaracterized as assault weapons. See 55           lll.   Comp. Stat. Ann. 513-9005. Foxx's ongoing

enforcement    of the     "assault weapons" ban against Cook County residents places plaintiffs

Cutberto Viramontes, Rubi Joyal, and Christopher Khaya under imminent threat of prosecution

should they violate the ban, which leaves them unable to keep common firearms.                   All similarly
situated members of SAF and FPC in Cook County face the same clear threat of enforcement.

        17.     Defendant Thomas Dart is the Sheriff of Cook County, Illinois. In such capacity,

Dart enforces the County's ordinances, including its unconstitutional ban on                             rifles

mischaracterized as assault weapons. See         55Ill. Comp.    Stat. Ann. 5/3-6019; Code of Ordinances

ofCookCt'tty., m.$$ 54-2I2(b)-(c),54-213 (Dec. 15, 2020),https:/lbit.ly/2lcts75. Dart's ongoing

enforcement   of the "assault        weapons" ban against Cook County residents places Plaintiffs

Cutberto Viramontes, Rubi Joyal, and Christopher Khaya under imminent threat of arrest and




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suffering confiscation should they violate the ban, which leaves them unable to keep cofirmon

firearms.   All similarly   situated members   of SAF   and FPC   in Cook County face the same clear

threat of enforcement.

                                    FACTUAL ALLEGATIONS

I.       COOK COUNTY'S UNCONSTITUTIONAL ORDINANCE

         18.     In November 2006, the Cook County Board of Commissioners enacted, and in July

2013 they revised, the Blair Holt Assault Weapons Ban ("the Ordinance").

         19.     In current form, the Ordinance labels many firearms in common use "assault

weaponfs]" and criminalizes any act to "manufacture, sell, offer or display for sale, give, lend,

transfer ownership of, acquire, carry or possess" such firearms           in Cook County. Code of
Ordinances of Cook Cnty.,Ill. $$ 54-211,54-212(a) (Dec. 15, 2020), https://bit.lyl2Lcts75.

         20.     This criminal prohibition "appl[ies] to all persons in Cook County," excepting only

an   "officer, agent, or employee of Cook County or any other municipality or state or of the United

States, members of the armed forces of the United States; or the organized        militia of this or any

other state; or peace officers to the extent that any such person named in this subsection is

otherwise authorized . . . and does so while acting in the scope of his or her duties."   Id   $$ 54-210,

54-212(a)(t).1

         21.     Any ordinary person in Cook County who legally possessed a so-called "assault

weapon" before enactment must, under the Ordinance, remove           it from county limits, modiff it to

render it permanently inoperable, or surrender it to the Sheriff.   Id. $ 5a-212(c).

         22.     The Ordinance declares "assault weaponfs]" to be "contraband"; it requires the


        I The ban does not apply either to "[t]ransportation of assault weapons . . . if such weapons
are broken down and in a nonfunctioning state and are not immediately accessible to any person."
Id $$ sa-212(a)(2).


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 Sheriff to seize such firearms and, if he ascertains that they are not "needed as evidence in any

 matter," to destroy them. Id. $$ 54-212(b),54-213.

        23.     A first-time violation of the Ordinance is a crime punishable by a $10,000 fine and

six months in prison. Id. g 54-214(a).

il.     THE ORDINANCE BANS RIFLES IN COMMON USE

        24.     The Ordinance bans as an "assault weapon" any semiautomatic rifle with a capacity

to accept a magazine holding more than ten rounds of ammunition, if it has any of the following

features:

        (A) Only a pistol grip without a stock attached;
        (B) Any feature capable of functioning as a protruding grip that can be held by the non-
        trigger hand;
        (C) A folding, telescoping or thumbhole stock;
        (D) A shroud attached to the barrel, or that partially or completely encircles the barrel,
        allowing the bearer to hold the firearm with the non-trigger hand without being burned, but
        excluding a slide that encloses the barrel; or
        (E) A muzzle brake or mvzzle compensator.

Id. S 54-211, Assault weapon fl (1); see also id., Large-capacity magazine.

       25.     Further, the Ordinance bans any "[c]onversion kit, part or combination of parts,

from which an assault weapon can be assembled if those parts are in the possession or under the

control of the same person." Id. n   6).
       26.     Finally, the Ordinance lists these specific examples of banned "assault weapons

models":

       (A) The following rifles or copies or duplicates thereof:

       (i)     AK, AKM, AKS, AK-47, AK-74, ARM, MAK90, Misr, NHM 90, NHM 91, SA
               85, SA 93, VEPR, Rock RiverArms LAR-47,Yector Arms AK-47, VEPR, WASR-
               10, WUM, MAADI, Norinco 565, 5652, 84S, and 865;
       (ii)   AR-10;
       (iiD   AR-15, Bushmaster XMl5, Bushmaster Carbon 15, Bushmaster ACR, Bushmaster
              MOE series, Armalite Ml5, Armalite M15-T and Olympic Arms pCR;
       (iv)   AR70;
       (v)    Calico Liberty;


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 (vi)      Dragunov SVD Sniper Rifle or Dragunov SVU;
 (vii)     Fabrique National FN/FAL, FN/LAR, or FNC;
 (viii)    Hi-PointCarbine;
 (ix)      HK-91, HK-93, HK-94, HK-USC and HK-PSG-I;
 (x)       Kel-Tec Sub Rifle, Kel-Tec Sub-2000, SU-l6, and RFB;
 (xi)      Saiga;
 (xii)     SAR-8, SAR-4800;
 (xiii) KS with detachable magazine;
 (xiv) SLG 95;
 (xv)      SLR95 or96;
 (xvi) Steyr AUG;
 (xvii)    Sturm, Ruger Mini-I4, and Sturm, Ruger & Co. SR556;
 (xviii)   Tavor;
 (xix)     All Thompson rifles, including Thompson I 927, Thompson M I , Thompson M I SB,
           Thompson Tll00D, Thompson T150D, Thompson TlB, Thompson TIB100D,
          Thompson T1B50D, Thompson TIBSB, Thompson Tl-C, Thompson TlD,
          Thompson TISB, Thompson T5, Thompson T5l00D, Thompson TMl, Thompson
          TMIC and Thompson 1927 Commando;
 (xx) Uzi, Galil andUzi Sporter, Galil Sporter, or Galil Sniper Rifle (Galatz);
 (xxi) Barret REC7, Barrett M82A I , Barrett M I 07A I ;
 (xxii) Colt Match Target Rifles;
 (xxiii) Double Star AR Rifles;
 (xxiv) DPMS Tactical Rifles;
 (xxv) Heckler & Koch MR556;
 (xxvi) Remington R-15 Rifles;
 (xxvii) Rock River Arms LAR-I 5;
 (xxviii)Sig Sauer SIG516 Rifles, SIG AMT, SIG PE 57, Sig Saucer SG 550, and Sig Saucer
          SG 55I;
 (xxix) Smith & Wesson M&Pl5;
 (xxx) Stag Arms AR;
 (xxxi) Baretta CX4 Storm;
 (xxxii) CETME Sporter;
 (xxxiii)Daewoo K-1, K-2, Max 1, Max 2, AR 100, and AR l10C;
 (xxxiv)Fabrique NationalelFN Herstal FAL, LAR, 22 FNC, 308 Match, LlAl Sporter,
         PS90, SCAR, and FS2000;
 (xxxv) Feather Industries AT-9;
 (xxxvi)Galil Model AR and Model ARM;
 (xxxvii) Springfield Armory SAR-48;
 (xxxviii) Steyr AUG;
 (xxxix)UMAREX UZI Rifle;
 (xl) UZI Mini Carbine, UZI Model A Carbine, andUZIModel B Carbine;
 (xli) Valmet M62S. M71S, and M78;
 (xlii) Vector Arms UZI Typ";
 (xliii) Weaver Arms Nighthawk; and
 (xliv) Wilkinson Arms Linda Carbine.



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 rd. n Q).

         27.    Semiautomatic rifles "kaditionally have been widely accepted as lawful

 possessions," see Staples v. United States,5l    I U.S. 600,612   (1994) (so categorizing an AR-I5

 semiautomatic rifle), and they too are in common use presently, see Heller v. District of Columbia

 ("Heller If'),670 F.3d 1244,1261 (D.C. Cir. 2011) ("We think it clear enough in the record that

 semi-automatic rifles . . . are indeed in 'common use' as the plaintiffs contend."). Indeed, counting

just "modern sporting rifles" (a category that includes       semiautomatic AR-style and AK-style

rifles), the number in circulation today approaches (and may exceed) twenty million. Indeed, a

recent survey of gun owners indicates that about 24.6 million Americans have owned an AR-15

or similar rifle. See William English,2021 National Firearms Survey at 1, https:/bit.ly/3rYa13k.

According to industry sources, more than one out of every five firearms sold in certain recent years

were semiautomatic modern sporting rifles.

        28.     The banned semiautomatic rifles, like all other semiautomatic firearms, fire only

one round for each pull of the trigger. They are not machine guns. See Staples, 5l      I   U.S. at 602

n.1 . What is more, the designation "assault weapons" is a complete misnomer, "developed by anti-

gun publicists" in their crusade against lawful firearm ownership. See Stenberg v. Carhart,530

U.S. 914, 1001 n.l6 (2000) (Thomas, J., dissenting).

        29.    Rifles built on an AR-style platform are a paradigmatic example of the type of arm

Cook County bans. AR-15 rifles, for example, are among the most popular firearms in the nation,

and they are owned by millions of Americans.

       30.     Central among the common uses of rifles banned in Cook County is defense of self

in the home. For example, most AR-style firearms are chambered for 5.56x45mm NATO (similar

to .223 Remington) ammunition,    a   relatively inexpensive and common cartridge that is particularly




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well suited for home-defense purposes because it has sufficient stopping power in the event     a    home

intruder is encountered but loses velocity relatively quickly after passing through   a target and   other

objects, thus decreasing the chance that an errant shot   will strike an unintended   target. Although

most pistol rounds have less muzzle velocity than a 5.56x45mm NATO round, they have greater

mass, maintain velocity after passing through walls and other objects, and pose substantially

greater risk to unintended targets in the home. An   AR-l5 rifle   chambered for 5.56x45mm NATO

ammunition is an optimal firearm to rely on in a self-defense encounter.

       3I   .   Like the AR- I 5 generally, the specific features banned by the Ordinance aid home

defense. Folding, telescoping, and thumbhole stocks2 reduce length- or weight-based obstacles to

maneuverability without sacrificing the stability and thus accuracy that stocks may provide. See

David B. Kopel, Rational Basis Analysis of "Assault Weapon" Prohibition,Z0 J. Contemp. L. 381,

398-ee (tee+).

       32.      Muzzle brakes or compensators, thumbhole stocks, and protruding grips for non-

trigger hands all reduce the "kick" or recoil in discharging a rifle and thereby enhances accurate

fire (in particular for individuals of smaller stature, including, of course, many women).

       33.      Absent, folding, and telescoping stocks also increase the likelihood of successful

home defense by permitting safe storage of defense instruments in accessible spaces.

       34.      Most common semiautomatic rifles, including those banned under the Ordinance,

can accept a detachable magazine. Detachable magazines not only assist law-abiding shooters to




2
  A folding stock, of course, folds toward the rest of the firearm. A telescoping stock allows the
length of the stock to be shortened or lengthened, consistent with the length of a person's arms. A
thumbhole stock is partially carved out, reducing its weight and allowing the stock-holding thumb
greater control over the weapon.



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 reload their weapon in stressful defense circumstances, but in the case of some platforms, including

 the   AR-I5, they are required to safely and quickly remedy malfunctions.

          35.       Encounters with criminal intruders in the home are not uncommon. For instance,

 according to a report by the U.S. Department of Justice, Bureau of Justice Statistics, household

 members are present for almost a third of all burglaries and become victims of violent crimes in

 more than a quarter of those cases. Studies on the frequency of defensive gun uses in the United

 States have determined that there are up to 2.5    million instances each year in which civilians   use

firearms to defend themselves or their property. Gary Kleck, Marc Gertz, Armed Resistance to

Crime: The Prevalence and Nature of Self-Defense with a Gun,86 J. of Crim.L. & Criminology

 l50, 164 (1995).

          36.       Other common, lawful uses of the banned rifles are hunting and sport. At least a

third of all gun-owners own a firearm forhunting or sport shooting, and recreational target shooting

has been cited as the top reason, albeit closely followed by home defense, for owning a modem

sporting rifle.

          37.       Here again, the banned features of rifles mischaracterized as assault weapons serve

lawful purposes. Folding and telescoping stocks, for example, allow for safe transportation,

including in   a   hiking pack, an ATV, or a boat. These stocks, as well as thumbhole stocks, also ease

carrying over long distances while hunting. Detachable magazines have the same benefits in

hunting and sport-shooting as they do in home defense-improved reloading and remedying of

malfunctions. Muzzle brakes or compensators, thumbhole stocks, and protruding grips for non-

trigger hands open hunting and sport-shooting to those for whom recoil represents a high barrier

to entry. Lastly, a "shroud attached to the barrel . . . allow[s] the bearer to hold the firearm with




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the non-trigger hand without being bumed," a safety-enhancing feature that the Ordinance admits

even while banning   it. Id. g 54-211, Assault weapon   tlfl   (l), (3), (4).

         38.    By contrast, one use that is not common for so-called "assault rifles" is crime.

According to a widely cited 2004 study, these arms "are used in a small fraction of gun crimes."

This has long been true. See Gary Kleck, Targeting Guns: Firearms and Their Control                ll2      (1997)

(evidence indicates that "well under 1% [of crime guns] are 'assault rifles.'            "). Indeed, according

to FBI statistics in20l9 there were only 364 homicides known to be committed with rifles of any

type, compared to 6,368 with handguns,l,476 with knives or other cutting instruments, 600 with

personal weapons (hands, feet, etc.), and397 with blunt objects. See Expanded Homicide Table 8,

Crime in the United States (FBI2019), htps:/ibit.lyl3lHABwE.

         39.   The Ordinance's ban on acquiring, purchasing, receiving, transporting, possessing,

and lawfully using an "assault weapon" is, therefore, a ban on keeping and bearing semiautomatic

rifles that are commonly and overwhelmingly possessed and used for lawful purposes, including

self-defense in the home.

III.     THE EFFECT ON PLAINTIFFS

         40.   Plaintiff Cutberto Viramontes lives in Chicago in Cook County. Viramontes

intends and desires to exercise his right to keep and bear a so-called assault weapon, particularly a

Smith and Wesson M&P rifle, for lawful purposes, especially for self-defense. The Smith and

Wesson    M&P as an AR-15 style rifle that is explicitly identified as illegal in the              Ordinance.

Viramontes would acquire, purchase or receive, as well as transport, possess, and lawfully use this

firearm, were it not for Defendants' enactment and enforcement of Cook County's outright ban on

these common arns. But       in light of Defendants' actions, including their                threats   of   arrest,

confiscation, prosecution, fine and imprisonment, Viramontes continues to refrain from acquiring,

purchasing, receiving, transporting, possessing, or lawfully using an M&P                 AR -15 rifle or any

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 similar firearm, for self-defense and other lawful purposes.

         41.      Plaintiff Rubi Joyal lives in Chicago in Cook County. Joyal intends and desires to

 exercise his right to keep and bear a so-called assault weapon, particularly a Smith and Wesson

 M&P, for lawful purposes, especially for self-defense. The Smith and Wesson M&P is an AR-15

 style rifle that is explicitly identified as illegal in the Ordinance. Joyal would acquire, purchase or

receive, as well as transport, possess, and lawfully use this firearm, were     it not for Defendants'

enactment and enforcement of Cook County's outright ban on these common iilms. But in light          of
Defendants' actions, including their threats        of   arrest, confiscation, prosecution, fine and

imprisonment, Joyal continues to refrain from acquiring, purchasing, receiving, transporting,

possessing, or lawfully using an M&P AR-15         rifle or any similar firearm, for self-defense   and

other lawful purposes.

        42.      Plaintiff Christopher Khaya lives in Chicago in Cook County. Khaya intends and

desires to exercise his right to keep and bear a so-called assault weapon, particularly an   IMI Galil

rifle, for lawful purposes, especially for self-defense. The IMI Galil is an AR-15 sfyled semi-

automatic rifle that is explicitly identified as illegal in the Ordinance. Khaya would acquire,

purchase or receive, as well as transport, possess, and lawfully use this firearm, were       it not for

Defendants' enactment and enforcement of Cook County's outright ban on these common arrns.

But in light of Defendants' actions, including their threats of arrest, confiscation, prosecution, fine

and imprisonment, Khaya continues to refrain from acquiring, purchasing, receiving, transporting,

possessing, or   lawfully using an IMI Galil rifle or any similar firearm, for self-defense and other

lawful purposes.

        43.      Members of Plaintiffs SAF and FPC intend and desire to acquire, purchase, receive,

transport, possess, or lawfully use semiautomatic rifles banned by the challenged provisions, and




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are subject to and adversely affected by the restrictions articulated in this complaint on "assault

weapons."

        44.     But for the enactment and enforcement of the Ordinance, these members would

forthwith obtain and possess such rifles, but cannot do so because they are considered "assault

weapons."

        45.     But for Defendants' enactment and enforcement of an unconstitutional Ordinance,

and Defendants' enforcement thereof, and the criminal penalties associated with violations of the

Ordinance, members of Plaintiffs SAF or FPC, including Plaintiffs Cutberto Viramontes, Rubi

Joyal, and Christopher Khaya would exercise their right to keep and bear the banned firearms for

lawful purposes, including self-defense, without the fear or risk of arrest and prosecution for

engaging in constitutionally protected, lawful conduct.

IV.     DEFENDANTS' LAWS AND REGULATIONS VIOLATE THE SECOND
        AMENDMENT.

        46,     The Second Amendment to the United States Constitution provides: "A well-

regulated Militia being necessary to the security of a free State, the right of the people to keep and

bear Arms shall not be infringed."

        47.     The Fourteenth Amendment to the United States Constitution provides: "No state

shall make or enforce any law which shall abridge the privileges or immunities of citizens of the

United States; nor shall any state deprive any person of life, liberty, or property, without due process

of law; nor deny to any person within its jurisdiction the equal protection of the laws."

        48.     The Second Amendment is fully applicable to the States through the Fourteenth

Amendment. McDonald v. City of Chicago, 561 U.S. 742,750 (2010); id. at 805 (Thomas, J.,

concurring).

        49.     "The very enumeration of the right [to keep and bear arms] takes out of the hands



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 of government-even the Third Branch of Government-the power to decide on a case-by-case

 basis whether the right is really worth insisting upon." District of Columbia v.          Heller,554 U.S.
 570,634 (2008).

        50.       "Constitutional rights are enshrined with the scope they were understood to have

 when the people adopted them, whether or not future legislatures or (yes) even future judges think

 that scope too broad." Id. at 634-35.

        51.       At the   same time, indeed for this reason,    "[]ust   as the First Amendment protects

 modern forms of communications, and the Fourth Amendment applies to modern forms of search,

the Second Amendment extends,primafacie,to all instruments that constitute bearable anns, even

those that were not in existence at the time of the founding." Id. at 582 (citations omitted).

        52.      The rifles at issue in this case are the sorts of bearable arms in common use for

lawful purposes that law-abiding people possess at home by the millions. And they are, moreover,

exactly what they would bring to service in militia duty, should such be necessary. As the Southern

District   of   Califomia recently explained         in finding Califomia's "assault        weapons" ban

unconstitutional, "the AR-15 rifle is the perfect combination of home defense weapon and

homeland defense equipment." Miller v. Bonta,202l           WL   2284132 (S.D. Cal. June 4, 20Zl).

       53'       ln Heller, the Supreme    Court held that the Second Amendment "guaranteefs] the

individual right to possess and carry weapons in case of confrontation." Id. at 592.

       54.       This is "'a natural right which the people have reserved to themselves, confirmed

by the Bill of Rights."' Id. at 594 (quoting A Journal of the Times: Mar.17,New york Journal,

Supp. 1, Apr. 13,1769).

       55.       When seconds count, and the police are minutes or hours away,             if   they come at

all-they certainly have     no obligation to, see, e.g., Town of Castle Rock v. Gonzales,545 U.S. 748




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(2005)-the People have a constitutional right to make use of common firearms for effective self-

defense and not to be disarmed by the enactment and enforcement of the Ordinance.

          56.   Further, the Second Amendment protects "arms . . . of the kind in common use . . .

for lawful purposes like self-defense." Heller,554 U.S. at 624 (quotation marks and citation

omitted).

          57.   Assuming ordinary citizens are not disqualified from exercising Second

Amendment rights, the State must permit them to keep and bear common rifles for lawful purposes.

          58.   The right to keep and bear common rifles guaranteed under the   Bill of Rights cannot

be subjected to laws and regulations that prohibit ordinary, law-abiding citizens from keeping and

bearing common firearms-particularly when such schemes place these citizens under constant

threat of criminal sanction for violating them.

          59.   The enshrinement of the right to keep and bear arms in the Second Amendment has

necessarily taken such "policy choices off the table." Id. at 636.

          60.   Yet, this is precisely how the Ordinance in Cook County operates, completely

shutting out ordinary, law-abiding citizens from exercising their rights in the County.

                                          COUNT ONE

     42 U.S.C. S 1983 Action for Deprivation of Plaintiffs'Rights under the Second and
                 Fourteenth Amendments of the United States Constitution

          61.   Plaintiffs incorporate by reference the foregoing paragraphs as     if fully set forth
herein.

          62.   There is an actual and present controversy between the parties.

          63.   The Second and Fourteenth Amendments to the United States Constitution

guarantee ordinary, law-abiding citizens of states their fundamental right to keep and bear arms,

both in the home and in public.



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        64.      The keeping and bearing of arms is a fundamental right that is necessary to our

system of ordered liberty, and is additionally a privilege and immunity of citizenship, protected by

the Fourteenth Amendment.

        65.      The right to keep and bear arms includes, but is not limited to, the right of

individuals to acquire, purchase, receive, transport, possess, and lawfully use common rifles for

all lawful purposes, including self-defense.

        66.      Under paragraphs   I   and 3 through 6 of the "Assault weapon" definition in section

54-2lI of the Code of Ordinances of Cook County, Illinois, in combination with sections 54-210

and, 54-212   through 54-214 of the same, the County bans rifles that are commonly used for lawful

purposes, grounding this ban on features that do not make a firearm more powerful or dangerous.

No adequate basis exists for such a ban.

        67.      Also banned under sections 54-210 and 54-212 through 54-214 are semiautomatic

rifles permitted under federal law but listed in paragraph 7 of the "Assault weapon" definition in

section 54-211. No adequate basis exists to restrict such firearms, which fire only once per trigger

pull, like all other semiautomatic firearms.

        68.     42 U.S.C. $ 1983 creates a cause of action against state actors who deprive

individuals of federal constitutional rights under color of state law.

        69.     Defendants, individually and collectively, and under color         of state law at all
relevant times, have deprived the fundamental constitutional rights of persons in the County of

Cook, including Plaintiffs Cutberto Viramontes, Rubi Joyal, Christopher Khaya, and all similarly

situated members of Plaintiffs SAF or FPC through enactment and enforcement of the Ordinance.

       70.      For all the reasons asserted herein, Defendants have acted in violation of, and

continue to act in violation of,42 U.S.C. $ 1983, compelling the relief Plaintiffs seek.




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                               PRAYER FOR RELIEF

  71.       WHEREFORE, Plaintiffs respectfully pray for the following relief:

            a.     A declaratory judgment that the Ordinance's ban on semiautomatic rifles

  and all related regulations, policies, and/or customs designed to enforce or implement the

  same, prevent Plaintiffs Cutberto Viramontes, Rubi Joyal, Christopher Khaya, and all

  similarly situated members of Plaintiffs SAF or FPC, from exercising their fundamental

  right to keep and bear arms, including by acquiring, purchasing, receiving, transporting,

  possessing, and lawfully using common semiautomatic rifles banned under the Ordinance

  for all lawful purposes including self-defense, as guaranteed under the Second          and

  Fourteenth Amendments to the United States Constitution;

            b.     A preliminary and permanent injunction prohibiting each Defendant, and

  each Defendant's respective employees, officers, agents, representatives, all those acting

  in concert or participation with him or her, from enforcing the Ordinance's ban          on

  semiautomatic rifles and all related regulations, policies, and/or customs designed to

  enforce or implement the same;

            c.     An award of nominal damages against Defendant County of Cook;

            d.     Attorney's fees, expert fees, and costs pursuant to 42 U.S.C. $ 1988, and

  any other applicable law; and,

            e.     Any and all other and further legal and equitable relief against Defendants

  as necessary   to effectuate the Court's judgment, or as the Court otherwise deems just and

  propef.




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Dated:August 27,2021                     Respectfully submitted,


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                                                      *Pro hac vice application
                                                      forthcoming

                                               Attorneysfor Plaintffi




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                          EXHIBIT F
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       opprcs oF THE EnrB couxrv Drsrnrcr ArroRNEy
 JoHN J. Frvr.rN                                                              MrcHenr, J. KneNn
Drsrntcr Ar-ronuny                                                      Frnsr Dnpury Drsrnrct Arronxsy
                                                    Jlullie24,2022

  Via Certified Mnil &
  E-mail: david.adel man@cqokcountyil. gov


 DAVID A ADELMAN, ESQ.
 COOK COTINTY STATE'S
  ATTORNEY'S OFFICE
 50 W. WASHINGTON, sTH FLOOR
 CHICAGO,IL60602

                 Re       Subpoena Duces Tecum dated JuneTr2DZZ
                          Viramontes, et al v. The County of Cook, et al (l:21-cv-04595)

 Dear Mr. Adelman:

                Pwsuant to Rule 45 of the Federal Rules of Civil Procedure, the Erie County District
 Attomey's Office ("ECDA') states its objections to Cook County State's Attorney,s Office,s
 subpoena sent to my attention at the ECDA seeking the production ofdocuments,
                                                                                  which relate to the
 shooting at TOPS Friendly Markets Store, 1275 Jefferson Ave, Buffalo, Ny 1420S
                                                                                    on May l4,Z0Z2
 ("subpoena"). ECDA is not aparty to the above-referenced action.

               Since ECDA does not consent to receipt ofthe Subpoena via e-mail, these objections
are timely served within 14 days of the service of the Subpoena. Fed. R. Civ. p.45(dx2i@).
                                                                                                In
particular, ECDA states its objections to the subpoena as follows:

               First, ECDA objects to the Subpoena because it seeks the production of documents
to the Cook County State's Attorney's Office ("CCSAO") at an address in ihicago,
                                                                                  Illinois from the
ECDA's office located in Buffalo, New York. Because Chicago is well over t 00 miies
                                                                                      from Buffalo,
the Subpoena is defective on its face. Fed. R. Civ. p. 4s(cXtXA).

                Second, ECDA objects to the Subpoena because it seeks the production of documents
baned under the Buffalo City Court's Order Regarding Extrajudicial Comments (Erie
                                                                                  County DA
Legacy No' 00877'2022). Specifically, the order does not permit any discussion
                                                                                of facts or eviience
associated with the prosecution of Payton Gendron - the accused perpetrator
                                                                             of the TopS shooting
on May 14'2022. Accordingly, the release of any records is tantamount to violation
                                                                                      of this Order.
A copy of the Order was provided to you on June 22,2022.



25 Derewenr   Awwue'   BuFrAr,o, Nsw Yonr .14202-3903. (716) 85g-2424. Ft>r: (716) s5g-7425 . wwwerie.gov
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  David A. Adelman, Esq.
  Jvne24,2022
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                  Third, ECDA objects to the Subpoena because it is overly broad, unduly burdensome
  - particularly on a non-party govemmental agency - and not relevant
                                                                      or reasonably calculated to the
 discovery of admissible evidence. Except for privileged items, the Subpoena seeks the
                                                                                         unlimited
 production of documents during a pending criminal proceeding in Erie County
                                                                             relating to the TOpS
 shooting on May 14,2022. Fed. R. Civ. P. 45(dX3XA) (iv); sie Champion pro Consitting
                                                                                            Group,
 Inc' v. Impact Sports Football,ZZC, No. l:12CY27,2014WL668672i,at *4 (M.D.N.C.
                                                                                        November
 26,2014).

                 The Subpoena also seeks information referencing "any other victim," or which is
 "related to" a particular topic. As such, ECDA objects on the ground that gathering documents
 containing any reference or relationship to a particular topic is also unduly burdlnsome.
                                                                                           Fed. R. Civ.
 P. as(d)(3)(A)(iv).

                  Fourth, ECDAobjectstothe Subpoenabecause itseeks disclosure of "otherprotected
 matter." Fed. R- Civ. P. 45(dX3)(AXiii). Specifically, it seeks the production of
                                                                                            "all medical
 examiner reports," which are exempt from disclosure under New York law. Pursuant
                                                                                          to New york,s
 Freedom of Information Lawprovisions, the medical examiner reports are exempt
                                                                                        from disclosure
 by state statute' NY Pub Off $ 87(2)(a); NY County 677(3Xb). Sirnil*ly, the Subpoena
                                                          $                                     seeks the
 production of documents compiled for law enforcement purposes, the disclosure
                                                                                       oi which would
 deprive the defendant of his right to a fair trial or impartiaf adjudication. Ny pub Off g g7(2)(e)(ii).

                 Lastly, while the Subpoena seeks the production of incident reports, firearm reports,
and other police records, which are subject to the law enforcement privileg", tfr" Subpoena
                                                                                                      also
states that it does not seek privileged materials. Given this contradiciion in-terms,
                                                                                          ECDA objects
to the production ofsuch documents as unduly burdensome and protected under the
                                                                                        law enforcement
privilege. Furthermore, ECDA reserves the right to object to any materials that fall
                                                                                         within the scope
of the attorney-client privilege, work-product doctrine, or any other privile ge under
                                                                                       the Federal Rules
of Civil Procedure.

              For the above-mentioned reasons, please advise our office whether you will withdraw
the Subpoena. Otherwise, as discussed, your office has consented to an extension to July
                                                                                           ll,2022
to move and/or respond to the Subpoena. Thank you for your anticipated courtesies in
                                                                                      tiris regard.

                                                Very truly yours,

                                                JOHN J. FLYNN
                                                DISTRICT ATTORNEY
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                                                PAUL J. wldLIAMS III
                                                Assistant District Attorney
                                                Chief, Appeals Bureau
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